     Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 1 of 81 PageID #:8898



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CS WANG & ASSOCIATE, et al.,                         )
                                                     )
                              Plaintiffs,            )       Case No. 1:16-cv-I1223
                                                     )
v.                                                   )       Hon. Rebecca R. Pallmeyer
                                                     )
WELLS FARGO BANK, N.A., et al.,                      )
                                                     )
                              Defendants.            )

                           DECLARATION OF PAM COAPLAND
         Pam Coapland, being duly sworn upon oath, states as follows:

         1.     I am over eighteen (18) years of age and am fully competent to make this

Declaration. I have personal knowledge of the matters set forth herein. If called upon to do so,

could and would testify competently as to those matters. I am authorized to submit this Declaration.

         2.     I am currently employed as an Operational Risk Consultant at Wells Fargo Bank,

NA ("Wells Fargo"). In that capacity, I am responsible for the review, management and

investigation of disputes and litigation for Wells Fargo.

         3.     As an Operational Risk Consultant at Wells Fargo, I am familiar with Wells Fargo's

policies and procedures concerning document creation and retention.

         4.     I have reviewed the following documents attached in support of Wells Fargo's

Memorandum of Law in Opposition to Plaintiffs' Motion for Class Certification:

                •   Exhibit A is a true and correct copy of James Wang's Consumer Account

                    Application, dated March 24, 2006.

                •   Exhibit B is a true and correct copy of James Wang's Consumer Account

                    Application, dated December 21, 2009.



                                                 1
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               •   Exhibit C is a true and correct copy of James Wang's Consumer Account

                   Application, dated November 10, 2010.

               • Exhibit D is a true and correct copy of Frank Malmstead's Consumer Account

                   Application, dated January 28, 2003.

               •   Exhibit E is a true and correct copy of Wells Fargo's Consumer Account

                   Agreement: Important legal information, disclosures, and terms you need to

                   know, dated April 7, 2014.

       5.      The aforementioned documents were made at or near the time of the occurrence of

the matters set forth by, or from information transmitted by, a person with knowledge of these

matters; kept in the course of regularly conducted business activity by or on behalf of Wells Fargo;

and made as a regular practice by or on behalf of Wells Fargo. These documents are or reflect

business records of Wells Fargo.

       6.      The provisions in the Consumer Account Agreement (Exhibit E) applied to James

Wang and Frank Malmstead's aforementioned accounts with Wells Fargo between April 7, 2014

and the issuance of a new Consumer Account Agreement on October 29, 2014.

       I verify under penalty of perjury under the laws of the State of Illinois that the foregoing is

true and correct to the best of my knowledge.

       Executed this 19th day of November 2019.




                                                      Pam Coapland




                                                  2
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        COAPLAND
      DECLARATION –
        EXHIBIT A
         Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 4 of 81 PageID #:8901
          Consumer Account Application
           Bank name
           Wells Fargo Bank, N.A.
           Account(s) I Want to Open                                                                                     Bank Use Only
           PMA Prime Checking                                                                                             04001          CE200 03/24/2006                            13:18                      00114



           To help the government fight the funding of terrorism and money laundering activities, U.S. Federal law requires financial institutions to obtain, verify, and
           record information that identifies each person (individuals and businesses) who opens an account. What this means for you: When you open an account, we
           will ask for your name, address, date of birth and other information that will allow us to identify you. We may also ask to see your driver's license or other
           identifying documents.
           Customer 'I Information Primary Joint Owner (or)                                                             Customer 2 Information Secondary Joint Owner (or)
           Full name                                                                                                    Full name
           CYNTHIA HSU                                                                                                  JAMES WANG
           Street address                                                                      How lorigdtthis address Street address                                                                          How long at this address

                                                     Redacted
           Directional Address (Downed direction, address for customers who do not have                                 Directional Address (Document directional address for customers who do not have
                                     residence, business or alternate street address.)                                                        physical residence, business or alternate street address.)


           City                                                          State    Zip code                   Cntry       City                                                            State    Zip code                 Cntry

                                                         Redacted
           T)(2ajr.tr identit7cation numberjay.                                           Homsl2gne                      Taxpayer identification number (TIN)                                              Home phone

          .._                                            Redacted
           Previous street address                                                            How bog at this address   Fe-evinus street address                                                              How long at this address
                                                                                                   Yr      Mo                                                                                                       Yr       Mo


          City                                                           State    Zip code                   Cntry       City                                                            State    Zip code                  Cntry



           Current az/sic/ger                                                             Business iel2b_b2ne number

                                                         Redacted                                                       .1116111                                                                           111111111111r
           PrirrHry ID               Description                                          Date of birth                 Primary ID                  Description                                            Date of birth

                                                         Redacted
           Staie/Counky_. _                Issue Date                                     Lx.R._Date                     State/Counh                     Issue Date                                        Ex. Date

                                                         Redacted
          Secondary ID               Descrip212n                                                                         SecondarylD               Descriutioo
                            Redacted
          statecomoy                        Issue Date     I                              Exp. Date                      State/Country                   Issue Date                                        Exp. Date


                                                   Redacted                                                             u________
                                                                                                                         NORECORD
                                                                                                                                                                                                                                    __



           Request for Taxpayer Identification Number and Certification (Substitute Form W-9)
          Certification: Under penalties of perjury, I certify that:
          1) The number shown on this form is my correct Taxpayer Identification Number, and
          2) UNLESS I HAVE CHECKED ONE OF THE BOXES BELOW, I am not subject to backup withholding either because I have not been notified by the
          internal Revenue Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or the IRS has notified
          me that I am no longer subject to backup withholding (does not apply to real estate transactions, mortgage interest paid, the acquisition or
          abandonment of secured property, contributions to an Individual Retirement Arrangement (IRA), and payments other than interest and dividends), and
          3) / am a U.S. person (including a U.S. resident alien).
          The Internal Revenue Service does not require your consent to any provision of this document other than the certifications required to avoid
          backup withholding.
                                                                                                                                             TIN Certification Signature
          0 I am subject to backup withholding.                             ❑     r am exempt from backup withholding.                                                                            El submit manually
          Wisconsin Only                                                                                                                                                                          0 signature not required
           The Direct Deposit Advance®Service may be available to Wisconsin consumer checking accounts with directly deposited income.
           Wisconsin Residents Only
           Customer 1 - I am         0 married 0 unmarried 0 legally separated
            Customer 2 - I am          0 married 0 unmarried 0 legally separated
           NOTICE TO MARRIED APPLICANTS: No provision of any marital property agreement, unilateral statement under Sec.766.59 Ws. Slats, or a court
           decree under Sec.766.70 adversely affects the interest of the creditor unless the creditor, prior to the time the credit is granted, is furnished a copy
           of the agreement, statement or court decree or has actual knowledge of the adverse provisions when the obligation to the creditor is incurred.
           Married Wisconsin resident applying individually (Customer 1) or married Wisconsin residents applyinointly, but not mated to the other signer
           (Customer 1 and 2), please complete name and address of spouse on the separate Direct Deposit Advance Service - Wisconsin Marital Property Act
           (WMPA) Credit Notice to Spouse.
           Joint Account with Right of Survivorship (Texas Only)
           The persons signing this section hereby agree with each other and the bank that this account is a joint account with right of survivorship, and that on
           the death of one party to a joint account, all sums in the account on the date of death vest in and belong to the surviving party as his or her separate
           property and estate. Each person signing this section who is married to a person who is not also signing this section represents and warrants that no
           funds now or hereafter deposited to the account, nor any interest earned on such funds, are subject to the management, control or disposition (jointly
           or otherwise) of such person's spouse.
           Texas Customer 1 Signature                                                                                   Texas Customer 2 Signature


                                                                                    0 submit manually                                                                                               0 submit manually
                                                                                       signature not required                                                                                      E:1 signature not required
          Signatures
          Everything I have stated in this application is correct. You are authorized to make any inquires that you consider appropriate to determine if you should
          open the account. This may include ordering a credit report or other report (i.e. information from any motor vehicle department or other state agency)
          on me. I have received a copy of the applicable account agreement and privacy brochure and agree to be bound by them, including the terms of the
          Direct Deposit Advance Service described in the account agreement. I also agree to the terms of the dispute resolution program described
          in the account agreement. Under this program our disputes will be decided before one or more neutral persons in an arbitration proceeding
          and not by a jury trial or a trial before a judge.
          For account number(s)                                                                             Type(s) DDA
                                                                                                                                            TIN                                                    Redacted                    Y
           Customer 1 Authorized signature                                                                  Date
                                                                                                      03/24/2006                         CYNTHIA HSU
                                                                                                    El submit manually                   JAMES WANG
                                                                                                    0 signature not required
            Customer 2 Authorized signature                                                                  Date
                                                                                                          03/
                                                                                                    El submit nually
                                                                                                              ma                             Redacted
                                                                                                    El signature not required
          DSG8921 (f0-04-827614)                                                                                                                                                            Page 1 of 1



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                WF000501
Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 5 of 81 PageID #:8902




        COAPLAND
      DECLARATION –
        EXHIBIT B
         Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 6 of 81 PageIDWELLS
                                                                                   #:8903
                                                                                                                                                                                  FARGO
           Consumer Account Application
          Bank name
          Wells Fargo Bank
          Account(s) I Want to Open                                                                   Bank Use Only


                                                                                DDAPA                   Phone Bank/AU 2839                              COID 114

                                                                                                        12/21/2009                                      EDGE # P974081x1

          To help the government fight the funding of terrorism and money laundering activities, U S. Federal law requires financial institutions to obtain, verify, and record information that
          identifies each person (individuals and businesses) who opens an account. What this means for you: When you open an account, we will ask for your name, address, date of birth
          and other information that will allow us to identify you. We may also ask to see your driver's license or other identifying documents.

          Customer I Information                  Sole Owner                                          Customer 2 Information
          Full name                                                                                   Full name
           JAMES WANG
          Street address                                                   How long at this address Street address                                                    How long at this address
                                                                                       Yr     Mo                                                                                  Yr     Mo

          Directional Address (Document directional address for customers who do not have                                 Document directional address for customers who do not have
                                                                                                      Directional Address(hys
                               physical residence, business or alternate street address.)                               p ical residence, business or alternate street address.)

          City                                               State Zip code                 Cntry     City                                              State Zip code                 Cntry


          Taxpayer Identification number (TIN)                            Home phone                  Taxpayer Identification number (TIN)                           Home phone


          Previous street address                                          How long at this address Previous street address                                           How long at this address
                                                                                 Yr     Mo                                                                                  Yr     Mo

          City                                               State Zip code                 Cntry     City                                              State Zip code                 Cntry


          Current employer                                              Business telephone number Current employer                                                 Business telephone number


          Primary ID            Description                               Date of birth               Primary ID           Description                               Date of birth


          State/Counu                                                                                 State/Country                        Issue Date                 Exp. Date


          Secondary ID         Description                                                            Secondary ID         Description


          State/Country                         Issue Date                 Exp. Date                  State/Country                        Issue Date                 Exp. Date


          Request for Taxpayer Identification Number and Certification (Substitute FormW-9)
          Certification: Under penalties of perjury, I certify that:
          I) The number shown on this form is my correct Taxpayer Identification Number, and
          2) UNLESS I HAVE CHECKED ONE OF THE BOXES BELOW, I am not subject to backup withholding either because I have not been notified by the Internal Revenue Service
          (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or the IRS has notified me that I am no longer subject to backup
          withholding (does not apply to real estate transactions, mortgage interest paid, the acquisition or abandonment of secured property contributions to an Individual Retirement
          Arrangement (IRA), and payments other than interest and dividends), and
          3) I am a US. person (including a U.S. resident alien).
          The Internal Revenue Service does not require your consent to any provision of this document other th..n_thexertifications required to avoid backup withholding.
                                                                                                                  TIN Certification Signature
          ❑ I am subject to backup withholding.                   ❑ I am exempt from backup withholding.          X
          Wisconsin Only
          The Direct Deposit Advance® Service may be available to Wisconsin consumer checking accounts with directly deposited income.
          Wisconsin Residents Only

           Customer I -         I am          E married        unmarried      0 legally separated
           Customer 2 -         I am         E married         unmarried          legally separated
           NOTICE 10 MARRIED APPLICANTS:No provision of any marital property agreement, unilateral statement under Sec.766.59 VVis. Stats, or a court decree under Sec.766.70
           adversely affects the interest of the creditor unless the creditor, prior to the time the credit is granted, is furnished a copy of the agreement,statement or court decree or has
           actual knowledge of the adverse provisions when the obligation to the creditor is incurred.
           Married Wisconsin resident applying individually (Customer I) or married Wisconsin residents applying jointly, but not married to the other signer (Customer I and 2), please
           complete name and address of spouse on the separate Direct Deposit Advance Service - Wisconsin Marital Property Act (WMPA) Credit Notice to Spouse.


          Joint Account with Right of Survivorship (Texas Only)
          The persons signing this section hereby agree with each other and the bank that this account is a joint account with right of survivorship and that on the death of one party to
          a joint account, all sums in the account on the date of death vest in and belong to the surviving party as his or her separate property and estate. Each person signing this
          section who is married to a person who is not also signing this section represents and warrants that no funds now or hereafter deposited to the account, nor any interest
          earned on such funds, are subject to the management. control or disposition (jointly or otherwise) of such person's spouse.
           Texas Customer I Signature                                                                 Texas Customer 2 Signature

           X                                                                                           X



           Signatures
          Everything I have stated in this application is correct.You are authorized to make any inquires that you consider appropriate to determine if you should open the account.This
          may include ordering a credit report or other report (i.e. information from any motor vehicle department or other state agency) on me. I have received a copy of the applicable
          account agreement and privacy brochure and agree to be bound by them, including the terms of the Direct Deposit Advance' Service and Deposit Advance" Service
          (Deposit Advance Service not available in all states) described in the Service Agreement and Product Guide. f also agree to the terms of the dispute resolution
          program described in the account agreement and Service Agreement and Product Guide. Under this program our disputes will be decided before one or more
          neutral persons in an arbitration proceeding and not by a jury trial or a trial before a judge.
          For account number(s)                                                                                     Type(s) DDAPA
                                                                                                                                                            TIN
          Customer I Authorized signature                                                 Date

          X
          Customer 2 Authorized signature                                                 Date                            JAMES WANG




                                                                                                                                                                P974081x1

          DSG8921 (02-07 73755-f)                                                                                                                                                    1 OF 1



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                         WF000499
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        COAPLAND
      DECLARATION –
        EXHIBIT C
                 Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 8 of 81 PageID #:8905



  Consumer Account Application
  Oink time:                                                                                 Bore Name:
  Wells Fargo Bank, N.A.                                                                     Oakridge
  Banker Name:                                                                               aficer/Portfol I o Number:          Date:
  JAMES PARK                                                                                  CK421                               11 / 10/ 2010
  Banker Pnone:                                            Bore Number                       Banker ALI                           Banker MAC
  408/448-9204                                             104278                             0000461


  To help the governII fight the funding of terrorisn and money laundering activities U.S Federal law requi resfi nand al inSitutionsto obtain, verify, and record information that
  identifieseach person (individualsand budnr-43-) who opensan account. V \hat t hismeansfor you: V \hen you open an account, we will ask for your name, address date of birth and
  other information that will allow usto identify you.V\e may also ask to sae your driver'slioense or other identifying documents


  New Account Information
  FrodudMaire:                                                                                            ODD             Roduct: Account Number:
  Wells Fargo Money Market Savings                                                                        114             D DA


  Related Customers
  0..iorrier Name:                                                                           Amount FelationMip:
   JAMES WANG                                                                                 Sole Owner


  Checking/Savings Statement Mailing Information
  Cliorner(s) Listed on St atement :                                                          Statement IViai I i ng Addrem
  [JAMES WANG
                                                                                             Mdrestine2:


                                                                                              City:                                                            Bate:


                                                                                              ZIP/Postal thde:                                                 (bunt ry:




                                                                                                                                                                           Page 1 of 3
  DSG8921 (9-10 SVP )                                             2W02-000400400260-01                                                                     VVells Fargo Confidential




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                  WF000502
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                                                                                                                                                       Consumer Account Application

  Customer 1 Information
  CuSomer Name:                                                                                 areet Addres
  [JAMES WANG

  Account Felationthp:                                                                          Addres6 ne 2
   Sole Owner
  Taxpayer Identification Umber (111\1):        Dateof Brth:                                    Addres6 ne 3:




  93conda IDT :                  Sagondan ID ESsai ption:                                       D red lona] Address
                                                                                                (11-rintotit when no phydcal reddence, budneEsoralternatedreet addreEs)

  Secondary IDSlatsiCbuntry: ckTindary ID Issue Date:           S3condary ID& irat ion Date:


  1-bmeFhone:                                   Eu§ness Phone:                                  Revi ous reel kidress


  Current Employer:                                                                             City:                                                               Sate:


  Check %porting:                                                                               ZFIr'Podal Cbde:              Country:            Time at thisaddress
                                                                                                                                                          Year(s)           Month(s)



  Request for Taxpayer Identification Number and Certification
  (Slost it ute Form W9)
  Ender penaltiesof perjury, I cert t hat:
  1. the number shown on t hisform ismy correct taxpayer identification number (or I am waiting fora number to be issJed to me), and
  2. UNLBSI RAVED-1E0<ED CNECF11-E erCBEI_ON I am not abject to backup wit hholdi ng either bewuee E have not been notified by the Internal %venue Service (IFS that I am
     abject to backup withholding asa result of a failure to report all interest ordividends orthe IRShas not ified methat I an no longer subject to backup withholding (doss not apply
     to red estate t ransad      mortgage i ntered paid, t he acguidt ionor abandonment of s=r1 ired property, cont ri but ionsto an Individual Fbtirement Arrangement (IRA), and payment
     other t han interest and dividends).
  3. I am a U.S person (induding a U.S resident alien).                 I am subject to backup withholding                          I am exempt from backup withholding

  Tax Fespondble Customer Nlarne:                                                              Taxpayer Identification Niamber (11N):
   JAMES WANG

  11N Certification Sgnature

                                                                                             Sjbmit manually                     Date:
                                                                                             Sgnature not required              ,11/10/2010



  Customer Signatures
   &en/thing I have stated in thisappl ication iscorrect. You are authorizacl to make any ingui rest hat you conjder appropriate to determi ne if you thould open the amount. lhismay
   i ndude ordering a credit report or other report (i.e. information from any motor vehide department or other Sate agency) on me. I have received a copy of the applicable account
   agreement and pnvap/ brochure and agree to be bound by them, including t he t erm s of the Direct Deposit Adv an ceOsery ice descri bed in the Service Agreement
   and Product Guide and any amendment or addendum (Direct Deposit Advance service currently not available in all states). I also agree to the t erms of
   the dispute resolution program described in the account agreement and the Direct Deposit Advance Service Agreement and Product Guide. Under
   thisprogram our disputeswill be decided before one or more neutral persons in an arbitration proceeding and not by a jury trial or atrial before a
   judge.




                                                                                                                                                                            Page 2 of 3
  DSG8921 (9-10 SVP )                                                2W02-000400400260-02                                                                      Wells Fargo Confidential




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                       WF000503
               Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 10 of 81 PageID #:8907
                                                                                             Consumer Account Application


  Cuomer 1 Name
   JAMES WANG

  Cuomer 1 Sgnature
   IPMEDVANG

                                                      Sdbmit manually         Date
                                                      3gnature not required
                                                                              [11 / 10 / 2 010




                                                                                                                Page 3 of 3
  DSG8921 (9-10 SVP )                     2W02-000400400260-03                                     VVells Fargo Confidential




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                        WF000504
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         COAPLAND
       DECLARATION –
         EXHIBIT D
         Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 12 of 81 PageID #:8909

              Consumer Account Application                                                                                                                                                                  lain r~


              Sank name

              Wells Fargo Bank Northwest, N.A.
              Account601WmdloOpm                                                                                              Bank Use Only
             Free Checking
             Regular Savings
                                                                                                                             03113 Q2654 01/28/2003 15:45 120
                                                                                                                             03113 Q2654 01/28/2003 15:47 120
                                                                                                                                                                                                            21ift

                                                                                                                                                           Pashtana Rahman                                               13
             Customer' information                  Sole      Owner                                                          Customer informaNS-292-3405
             Full name                                                                                                       Foil name
                                                                                                                                                         Wells Fargo Bank Northwest,                        P8540-0 11
             FRANK         A MALMSTEAD                                                                                                                                                             N.A.
             Street address                                                                   How,        et thls address    Street address             SeaWNIdinaTCe
                                                                                                                                                                                                            neva 2
                                                                          .                                    try           Of y                                              State
                                                                                                                                                                                              •

                                                                                                                                                                                       Zip code
                                                                                                                                                                                                     '

                                                                                                                                                                                                              Colry


               armor            al   nom                                                                                    —Taxpayer Mentrflcation number (Mg                                    : phone


                                 reea                                                                     at I               Previous street address                                          How long et Ibls address
                                                                                                     Yr       Mo                                                                                   Yr      Mn

             Cny                                                       Stale          tip cede                               City                                              Slate       Zip code


             Current employer                                                             Business t           number        Current employer                                              &MIMS telephone number


                 rrent employers address                                                     Now long with employer          arlEhlf employer's edo'ress                                      How long with employer
                                                                                                                                                                                                   Yr      ato

             City                                                      Zee            SIn code                               City                                              Stale       Zig coda


             7kive's license or other identifies:Ion number                           Dated birth                            Driver's license or   her identification number               Dale of birth


           111                       111L
                                       •e                      I ill                                                         State                  E. Nee


             Secondary tD                                                                              Mate Ertl. Data                                                                                 State Era. Date


                 y HeWous Account (most recent)
             Name of /Manua, Instltutton and city                                                                                                                                          Checking account number


             Verfeeellon

             NORECORD
             Request for Taxpayer identification Number and Certification (Substitute Form W-9)
             Certification: Under penalties of perjury, I certify that:
             1) The number shown on this form is my correct Taxpayer Identification Number, and
             2) UNLESS I HAVE CHECKED ONE OF THE BOXES BELOW, I am not subject to backup withholding either because I have not been notified by the
             Internal Revenue Service {IRS) that I am subject to backup withholding as a result of a failure to report all interest or dill' ds, or the IRS has notified
             me that I em no longer subject to backup withholding (does not apply to real estate transactions, mortgage t                   the ecqui
             abandonment of secured property, contributions to an Individual Retirement Arrangement (IRA), and pay           S    er       interest
             3) I am a U. S. person (including a U.S. resident alien).                                        we
             El I am subject to backup withholding.                      El I am exempt from backup withholding.




             Signatures                                                        1                                                                                                                   01/28/2003
             Everything I have stated in this application is correct. I understand that you will retain this application. You are authorized to check my credit and
             employment history and to answer questions about your credit experience with me. I have received a copy of your applicable account agreement
             and Use of Information brochure and agree to be bound by them. I also agree to the terms of the dispute resciution program described h. the
             account agreement. Under ads program our disputes war be decided before one or more neutral persons to an arbitration proceeding and not by
              Jury trial ore trim       a judge.
                                                                                                            DDA
             For account                                                                    Type(s)                                                           TIN
                                                                                                            SAV
             Authorized

                                                                                                                              FRANK A MALMSTEAD
                          arm

             ALdheefesel signature                                                 Dole

             X
             AufhorieWelprisftm                                                    Date




            W f4P00 PE1-01-15323-1) MI




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    WF000654
Case: 1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 13 of 81 PageID #:8910




         COAPLAND
       DECLARATION –
         EXHIBIT E
1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 14 of 81 PageID #

                                                          WELLS
                                                          FARGO




              Consul        Account Agreement

             Important legal
        information, disclosures,
           and terms you need
                 to know
                        Effective April 7, 2014




                                                  Together we'll go far




   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER               WF000505
1:16-cv-11223 Document #: 403-1 Filed: 12/16/19 Page 15 of 81 PageID #




   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER            WF000506
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     Dispute resolution program: arbitration agreement                         4
                                                                                        0
     Statements and error notifications                                                 0

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      Fraud prevention                                                          8
      Claims of unauthorized transactions; the Bank's rights and liability     10
     Checking and savings accounts
      Check 21 mandated consumer disclosure                                    12
      Deposits to your account                                                 14
      Funds availability policy                                                18       77)

      Withdrawals from your account                                            21
      Stop payment orders; notices of post-dating                              24
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   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                WF000507
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         Welcome to your new account
         Congratulations on opening your new account. We know you have many choices when
         selecting a financial institution, and we are glad you chose Wells Fargo.
         We understand that you may sometimes have questions about your account and related
         services. This document and other documents provided are collectively referred to as the
         "Agreement"and includes the following disclosures related to our consumer deposit accounts
         and related services that we have separately provided to you:
         •   The Consumer Account Agreement
         •   The Consumer Account Fee and Information Schedule, which explains the schedule of our
             fees and other account related information
             The Privacy Policy
         •   Rate sheets for interest-earning accounts
         •   Any additional disclosures regarding your account that we may provide to you from time
             to time

         We value our relationship with you.This booklet contains important information you need
         to know about your banking relationship with Wells Fargo. You are responsible for ensuring
         that all authorized signers are familiar with this Agreement. Unless you have submitted a
         request to us in writing otherwise, we may communicate information about your account
         to an authorized signer and may treat communications regarding your account that are
         received from an authorized signeras communications from you. You agree to notify the Bank
         immediately in writing if any authorized signer's authority has been terminated.
         This Agreement governs your account and related services, and replaces all prior agreements
         with the Bank regarding them. By signing the Bank's signature card for your account or
         using your account or service, you will be considered to have received and agreed to this
         Agreement.
         You should retain a copy of this Agreement (and any information that the Bank provides you
         regarding changes to this Agreement) for as long as you maintain your account with us.

         Terminology
             You, the account owner, may also be referred to as"you,""your,"or"yours"
             Wells Fargo may also be referred to as"the Bank""we""us"or"our"
             The companion booklet, the Consumer Account Fee and Information Schedule, may also be
             referred to as"Schedule"
             Certain words used in this booklet are defined in the Schedule's glossary




    1   Consumer Account Agreement.- Effective April 7, 2014



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     In this Agreement, certain words have a special meaning and are therefore defined. You
     will find certain terms and their definitions will be found in this section and elsewhere in
     this Agreement.

    Affiliate
     An affiliate is an entity, other than the Bank, that is, directly or indirectly, a wholly or
     substantially owned subsidiary of Wells Fargo & Company.

    Authorized signer
     An authorized signer is a person whom you have authorized to transact business on your
                                                                                                               -0
     account, whether or not such person has signed the signature card or other documentation
     for your account.The Bank may continue to recognize your authorization or the Bank's
     record of it until the Bank has received and had a reasonable time to act upon your written
     modification or revocation of it.

    Available balance
    Your available balance is the most current record we have about the funds that are available
    for withdrawal from your account. For more information, please see the section entitled
    "Determining your account's available balance!"                                                        z FD1'
                                                                                                           a3
    Business days                                                                                          =,a)

     Every day is a business day except Saturdays, Sundays, and federal holidays.                          Ei"Qo

    Card
     Unless the specific context indicates otherwise,"card" includes every type of debit card (but
     does not include any prepaid debit card) and every type of ATM card that the Bank may
     periodically issue to you. The debit card can also be referred to as the check card.

    Deposited item
     A deposited item is an item that the Bank cashes or collects for you or accepts for deposit to
     your account.

    Item
     An item includes a check, substitute check, purported substitute check, electronic item, draft,
     demand draft, remotely created item, remotely created consumer item, image replacement
     document, indemnified copy, preauthorized draft, or other order or instruction for the
     payment, transfer, or withdrawal of funds (including a withdrawal slip or bill payment
     instruction), deposited item returned unpaid, automatic transfer, and electronic transaction
     including Automated Clearing House (ACH), Automated Teller Machine (ATM), and point-of-sale
     or a photocopy of any of the foregoing. Item also includes any written document created or
     authorized in your name that would be a check or draft but for the fact that it has not been
     signed. An item may also include a cash-in ticket or a deposit adjustment.




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        Overdraft
        An overdraft is any event that results in a negative balance in your account.

        Paper item
        A paper item is an item that originates in tangible form.

        Service
        Any service the Bank provides you.

        Unauthorized EFT
        An unauthorized EFT is an electronic fund transfer (such as ATM and debit card transactions,
        transfers initiated by telephone, ACH debit or credit transactions) that has been made
        without your permission.

        Unauthorized transaction
        An unauthorized transaction is a transaction that was not authorized by you, including but
        not limited to an erroneous or unauthorized debit. It might include a missing signature, an
        unauthorized signature, or an alteration, or otherwise a transaction that was not authorized
        by you.




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     This part constitutes the arbitration agreement between you and the Bank.

     Binding arbitration
                                                                                                             0
     If you have a dispute with the Bank, and you are not able to resolve the dispute informally,
     you and the Bank agree that upon demand by either you or the Bank, the dispute will be
     resolved through the arbitration process as set forth in this part. A"dispute" is any unresolved
     disagreement between you and the Bank. It includes any disagreement relating in any
     way to services, accounts or matters; to your use of any of the Bank's banking locations or
     facilities; or to any means you may use to access your account(s). It includes claims based
     on broken promises or contracts, torts, or other wrongful actions. It also includes statutory,
     common law, and equitable claims.
    "Disputes" include disagreements about the meaning, application or enforceability of this
    arbitration agreement. This arbitration agreement shall survive any termination of your
    account(s). YOU AGREE THAT YOU AND THE BANK ARE WAIVING THE RIGHT TO A JURY
    TRIAL OR TRIAL BEFORE A JUDGE IN A PUBLIC COURT.
     As the sole exception to this arbitration agreement, you and the Bank retain the right to
     pursue in small claims court any dispute that is within that court's jurisdiction. If either you
     or the Bank fail to submit to binding arbitration following lawful demand, the party so failing
     bears all costs and expenses incurred by the other in compelling arbitration.                       o3
                                                                                                             41)
     Arbitration procedure; severability

     You or the Bank may submit a dispute to binding arbitration at anytime, regardless of               5
     whether a lawsuit or other proceeding has been previously commenced.
     NEITHER YOU NOR THE BANK SHALL BE ENTITLED TO JOIN OR CONSOLIDATE DISPUTES
     BY OR AGAINST OTHERS IN ANY ARBITRATION, OR TO INCLUDE IN ANY ARBITRATION ANY
     DISPUTE AS A REPRESENTATIVE OR MEMBER OF A CLASS, OR TO ACT IN ANY ARBITRATION
     IN THE INTEREST OF THE GENERAL PUBLIC OR IN A PRIVATE ATTORNEY GENERAL
     CAPACITY. Each arbitration, including the selection of the arbitrator(s) shall be administered
     by the American Arbitration Association (AAA), or such other administrator as you and the
     Bank may mutually agree to (the AAA or such other mutually agreeable administrator to
     be referred to hereinafter as the"Arbitration Administrator"), according to the Commercial
     Arbitration Rules and the Supplemental Procedures for Consumer Related Disputes ("AAA
     Rules").To the extent that there is any variance between the AAA Rules and this Arbitration
     Agreement, this Arbitration Agreement shall control. Arbitrators must be members of the
     state bar where the arbitration is held, with expertise in the substantive laws applicable to
     the subject matter of the dispute. No arbitrator or other party to an arbitration proceeding
     may disclose the existence, content or results thereof, except for disclosures of information
                                                                                                         n   pp
     by a party required in the ordinary course of its business or by applicable law or regulation.      (7) cp

     The parties agree that in this relationship: (1)The parties are participating in transactions
     involving interstate commerce; (2)The arbitrator shall decide any dispute regarding the
     enforceability of this arbitration agreement; and (3)This agreement and any resulting
     arbitration are governed by the provisions of the Federal Arbitration Act (Title 9 of the United
     States Code), and, to the extent any provision of that act is inapplicable, unenforceable or
     invalid, the laws of the state that govern the relationship between you and the Bank. If any of
     the provision of this arbitration agreement dealing with class action, class arbitration, private
     attorney general action, other representative action, joinder, or consolidation is found to
     be illegal or unenforceable, that invalid provision shall not be severable and this entire
     arbitration agreement shall be unenforceable.




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        Rights preserved
        This arbitration agreement does not prohibit you or the Bank from exercising any lawful
        rights or using other available remedies to preserve, or obtain possession of property;
        exercise self-help remedies, including setoff rights; or obtain provisional or ancillary remedies
        such as injunctive relief, attachment, garnishment or the appointment of a receiver by a
        court of competent jurisdiction. All statutes of limitations applicable to any dispute apply
        to any arbitration between you and the Bank. The provisions of this arbitration agreement
        shall survive termination or amendment of the deposit relationship or any other relationship
        between you and the Bank.

         Fees and expenses of arbitration
        Arbitration fees shall be determined by the rules or procedures of the arbitration
        administrator, unless limited by applicable law. Please check with the arbitration
        administrator to determine the fees applicable to any arbitration you may file. If the
        applicable law of the state in which you opened your account limits the amount of fees and
        expenses to be paid by you, then no allocation of fees and expenses to you shall exceed this
        limitation. Unless inconsistent with applicable law, each of us shall bear the expense of our
        own attorney, expert and witness fees, regardless of which of us prevails in the arbitration.




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     Mailing statements and other account related information to you
     Except as expressly provided otherwise in this Agreement, the Bank will mail, send
     electronically, or otherwise make available to you statements for your account, notices
                                                                                                       0
     and other information regarding your account or any service (collectively"account related         o_
     information") to the postal or electronic address of the owner as reflected in the Bank's
     records for your account. If there is more than one owner on your account, the Bank may
     send account related information to any one of them.
         If your account is in a combined statement, your statement is sent to the address
         associated with the first account (master account) in the combined statement
         Mailed account related information will be deemed to have been delivered the second
         business day following the day account related information was mailed
         Account related information held for pick up or made available electronically will be
         deemed to have been delivered when the Bank makes it available to you

     If there are co-owners on the account, then the co-owner receiving the account related
     information shall be responsible for providing copies of all account related information to all
     co-owners of the account, and for combined statements, to co-owners of any other accounts
     included in the combined statement. If the account owner has advised us to give the
     account related information to an authorized signer, then the authorized signer is responsible
     for providing copies to all account owners.

     Your obligation to review statements and account related information and to
     notify bank of errors
     Except as expressly provided otherwise in this Agreement:
         You agree to promptly and carefully examine account related information and to
         promptly notify the Bank of and reimburse the Bank for any erroneous credit to your
         account
         Within 30 days after the Bank mails or otherwise makes account related information
         available to you, you must notify the Bank of any claim for credit or refund due to an
         unauthorized transaction
         Within six months after the Bank mails or otherwise makes the account related
         information available to you, you will notify the Bank of any claim for credit or refund
         resulting from a forged, unauthorized, or missing endorsement

     Such notification is to be made by:
     •   Calling the telephone number listed on the statement for your account or in the other
         account related information for such purpose
     •   Submitting a written report to the Bank as soon as possible, but in any event, within the
         time frames specified above

     If you fail to notify the Bank within the time frames specified above, the balance
     shown on the statement for your account or other account related information will be
     conclusively presumed to be correct and the Bank will be released from all liability for the
     items charged to your account and for all other transactions or matters covered by the
     statement or other account related information.




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        In addition, if you fail to notify the Bank of an unauthorized transaction on your account
        within 30 days after the Bank mails, sends electronically, or otherwise makes available to you
        the statement or other account related information containing information describing the
        unauthorized transaction, the Bank will not be liable to you for any unauthorized transactions
        committed by the same person on your account that could have been prevented if you had
        complied with your obligations under this subsection. If you notify the Bank of any claim for
        credit or refund later than required by this subsection, the Bank will assert on your behalf any
        claim against a third party that the Bank determines in the Bank's sole discretion is permitted
        under the laws governing your account.

        Combined statements
        The Bank will automatically provide to you a statement reflecting your account activity for
        each statement period. To reduce the number of statements you receive each month, the
        Bank may combine statements if you have more than one deposit account. If you do not
        want your account automatically combined by the Bank, you can opt-out by going into a
        bank location or calling the number on your statement.

        Returned, unclaimed account related information
        Unless otherwise prohibited by the laws governing your account, this subsection applies if
        two or more account related information documents are returned or in the case of online
        statement email notifications the email notice is returned undeliverable.The Bank may
        consider your account to be inactiveThis means the Bank may discontinue sending and
        destroy account related information sent to you until you provide a valid postal or electronic
        address to the Bank.

        Address changes for Bank statements and other account related information
        You may instruct the Bank to change the address to which the Bank mails or emails account
        related information concerning your account at anytime. If you are in a combined statement,
        any owner of the first account (master account) can change the address of all accounts
        included in the combined statement.The Bank may act on any such instruction purportedly
        made on your behalf within a reasonable time after the Bank receives such instruction.
        Unless you instruct the Bank otherwise, the Bank may, in its sole discretion, change the
        postal or electronic address only for the account(s) you specify or for all or some of your
        other account(s) with the Bank. The Bank may change your postal or email address of record
        if it receives an address change notice from the U.S. Postal Service or if the Bank receives
        information from another party in the business of providing correct address information that
        the address in the Bank's records no longer corresponds to your address.

        Notices and other mail
        Any notice you send the Bank will not be effective until the Bank actually receives it and has
        a reasonable opportunity to act on it.

        Contacting you regarding servicing and/or collections
        You agree, in order for us to service your account or to collect any amounts you owe, we may
        from time to time make calls and/or send text messages to you at any telephone number(s)
        associated with your account, including wireless telephone numbers that could result in
        charges to you. The manner in which these calls or text messages are made to you may include,
        but is not limited to, the use of prerecorded/artificial voice messages and/or an automatic
        telephone dialing system.You further agree that, in order for us to service your account or to collect
        any amounts you owe, we may send e-mails to you at any e-mail address you provide to us.


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     Copies of cancelled paper item
     You can order a copy of a cancelled paper item by calling the Bank at the number provided
     on the statement for your account. When ordering a copy of a cancelled paper item, you need
                                                                                                       0
     to give the Bank your name, account number, paper item number, paper item amount, and             o_
     posting date of the paper item as shown on the statement for your account. The copy you
     request will be mailed or otherwise provided to you.




     Fraud prevention guidelines
     To help prevent check fraud and other criminal activities against you, we strongly encourage
     you to comply with the following fraud prevention guidelines.
     •   Do not preprint your driver's license or Social Security number (SSN) on your checks
     •   Call the Bank at the number listed on the statement for your account immediately if your
         new checks do not arrive within 10 business days of your order
         Call the Bank immediately if there are discrepancies you cannot explain on the statement
         for your account, or if you do not receive your statement or an ordered ATM card
         Store blank and cancelled check copies in a safe place. Remember that your checks
         provide access to your account. Even blank and cancelled checks have information
         on them that someone could use to obtain funds from your account. Notify the Bank
         immediately if any check is lost or stolen.
         Do not leave any outgoing mail containing checks in an unlocked mail collection box or
         in your residence mailbox. Whenever possible, deposit this type of mail in the designated
         slots inside your local post office.
         Thoroughly destroy unused deposit slips, transaction receipts, cancelled checks, and
         statements for your account before discarding them
         Notify the Bank immediately if any form of identification, your checkbook, or any blank
         checks are missing, lost or stolen."Identity theft" is on the rise.
         Write your checks in ink and fill in all lines completely
         Write your checks carefully. Make sure that your numbers are readable and that they
         begin as far to the left side of the line as possible so someone cannot easily insert
         additional numbers.
         Sign your checks clearly, as illegible signatures are more easily forged
     •   Do not give anyone permission to sign your name on checks
     •   Do not give anyone a pre-signed, blank check
         Do not provide account information, including account numbers or Personal
         Identification Numbers (PINs), to callers, even if they claim to be Bank representatives
         Use tamper-resistant checks at all times. If you do not order your checks through the
         Bank, ask your check vendor about checks with special security features
         Keep accurate records. You can avoid many fees to your account by keeping an accurate
         record of your account balance. The statement for your account provides space for you
         to balance your account for each statement period. Remember to record any transaction
         you make at an ATM, or by telephone or online. Also remember to record any point-of-sale
         transaction or automatic payment from your account.




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         Lost or stolen paper items; unauthorized items
        If any of your unissued paper items have been lost or stolen, or if someone is issuing
        unauthorized paper items against your account, or unauthorized items occur against your
        account, you agree to immediately notify the Ba nk. To the extent you fail to notify the Bank
        within the time frames specified in the section titled "Your obligation to review statements
        and account related information and to notify Bank of errors"the Bank will be relieved of
        any liability for such paper items, and unauthorized items. Upon receipt of any such notice,
        the Bank may, at its sole discretion, and without any liability to you take one or more of the
        following actions:
            Close your account and open a new account for you
            Dishonor any paper item you have indicated may have been lost or stolen
            Pay any paper item presented for payment on your account, provided you have instructed
            the Bank to pay such paper item, and given the Bank the number of that paper item

        If the Bank does open a new account for you and you have authorized any other party to
        automatically make regular deposits to or withdrawals from your account (such as wire or
        electronic payment transfers), the Bank shall have no liability to you if you do not receive any
        regularly scheduled deposit or if a regularly scheduled payment is not made for you due to
        your failure to notify that other party in a timely fashion of the number of your new account.




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     Investigation by the Bank; your agreement to cooperate

    The Bank shall investigate any transactions you have reported to the Bank as unauthorized (a           0
    "claim of unauthorized transaction").                                                                  o_

     You agree to:
     •   Submit your claim of unauthorized transaction in writing to the Bank by completing a
         declaration under penalty of perjury describing your claim of unauthorized transaction (in
         an affidavit form approved by the Bank, if so requested)
     •   File a police report
     •   Complete and return to the Bank any documents requested of you
     •   In all respects, cooperate fully with the Bank in its investigation of your claim of
         unauthorized transaction
    The Bank shall have the right to reverse any credit made to your account if you fail to sign
    such documents, cooperate fully with the Bank's investigation of your Claim of unauthorized
    transaction or the Bank's efforts to recover funds related to your Claim of unauthorized
    transaction or if the Bank determines that the transaction that gave rise to your Claim of
    unauthorized transaction was proper.

     Standard of care

     The Bank will meet its standard of care for your account, provided the Bank exercises
     ordinary care in the transaction at issue. When the Bank takes an item for processing by
     automated means,"ordinary care" does not require that the Bank examine the item. In all
     other cases,"ordinary care" requires only that the Bank follow standards that do not vary
     unreasonably from the general standards followed by similarly situated banks. The Bank's
     policies and procedures are general internal guidelines and do not establish a higher
     standard of care for the Bank than is otherwise established by the laws governing your
     account. If the Bank waives any of its rights as to you or your account on one or more
     occasions, it will not be considered a waiver of the Bank's rights on any other occasion.

     Limitation of liability; indemnification

    WHETHER IN CONNECTION WITH YOUR ACCOUNT OR A SERVICE, IN NO EVENT WILL EITHER
    YOU OR THE BANK, OR ITS AFFILIATES, OFFICERS, DIRECTORS, EMPLOYEES, CONSULTANTS,
    SHAREHOLDERS, OR AGENTS BE LIABLE TO THE OTHER PARTY FOR ANY SPECIAL,
    CONSEQUENTIAL INDIRECT OR PUNITIVE DAMAGES, WHETHER ANY CLAIM IS BASED ON
    CONTRACT OR TORT OR WHETHER THE LIKELIHOOD OF SUCH DAMAGES WAS KNOWN TO
    EITHER PARTY. The foregoing limitation of liability will not apply where expressly prohibited
    by the laws governing your account. The Bank will not have any liability to you if there are
    insufficient available funds in your account to pay your items due to actions taken by the
    Bank in accordance with this Agreement. Except to the extent that the Bank fails to exercise
    "ordinary care" or breaches this Agreement, you agree to indemnify and hold the Bank and
    its affiliates, officers, directors, employees, consultants, shareholders, and agents harmless
    from all claims, demands, losses, liabilities, judgments, and expenses (including attorney
    fees and legal expenses) arising out of or in any way connected with performance under this
    Agreement. You agree that this indemnification will survive termination of this Agreement.




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         Adverse claims
         If any person or entity makes a claim against funds in your account, or if the Bank believes
         that a conflict exists between or among the owners on your account or that there is a dispute
         over matters such as the ownership of your account or the authority to withdraw funds from
         your account, the Bank, without any liability to you, may take one or more of the following
         actions:
         •   Continue to rely on the signature card(s) for your account
         •   Honor the claim upon receipt of evidence satisfactory to the Bank to justify such claim
         •   Freeze all or a part of the funds in your account until the dispute is resolved to the Bank's
             satisfaction
         •   Close your account and send a check for the available balance in your account payable to
             you or to you and each claimant
         •   Pay the funds into an appropriate court

         The Bank may charge your account for expenses (including attorney's fees and expenses)
         and fees the Bank incurs.

         Legal process
         The Bank may accept and act on any legal process that it believes is valid, whether served
         in person, by mail, or by electronic notification, at any location of the Bank."Legal process"
         includes a levy, garnishment or attachment, tax levy or withholding order, injunction,
         restraining order, subpoena, search warrant, government agency request for information,
         forfeiture, seizure, or other legal process relating to your account. Any such legal process
         is subject to the Bank's security interest and right of setoff. The Bank will not notify you
         of a grand jury subpoena affecting you or your account. Any fees or expenses (including
         attorney's fees and expenses) the Bank incurs in responding to any such legal process may
         be charged against any account you maintain with the Bank.

         "Freezing"your account
         As part of the Bank's loss prevention program, when the Bank suspects that irregular,
         unauthorized, or unlawful activities may be involved with your account, the Bank may
         "freeze" (or place a hold on) the balance in your account (and in other accounts you maintain
         with the Bank) pending an investigation of such suspected activities. If the Bank freezes your
         account, the Bank will give any notice required by the laws governing your account.

         Acts beyond the control of the Bank
         Neither you nor the Bank shall be deemed to be in default of any of the obligations required
         to be performed under this Agreement if the performance thereof is delayed, hindered, or
         becomes impossible because of any act of God or public enemy, hostilities, war (declared
         or undeclared), guerilla activities, terrorist activities, act of sabotage, blockade, earthquake,
         flood, land slide, avalanche, tremor, ground movement, hurricane, storm, explosion, fire,
         labor disturbance, riot, insurrection, strike, accident, civil commotion, epidemic, act of
         government or its agencies or officers, power interruption or transmission failure, or any
         cause beyond the control of you or the Bank.




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     IMPORTANT INFORMATION ABOUT YOUR CHECKING ACCOUNT

     Substitute checks and your rights
                                                                                                                 0
     What is a substitute check?                                                                                 o_

     To make check processing faster, federal law permits banks to replace original checks with
     "substitute checks."These checks are similar in size to original checks with a slightly reduced
     image of the front and back of the original check. The front of a substitute check states:"This
     is a legal copy of your check. You can use it the same way you would use the original check!"
     You may use a substitute check as proof of payment just like the original check.
     Some or all of the checks that you receive back from the Bank may be substitute checks.
     This notice describes rights you have when you receive substitute checks from the Bank.The
     rights in this notice do not apply to original checks or to electronic debits to your account.
     However, you have rights under other laws with respect to those transactions.

     What are your rights regarding substitute checks?
     In certain cases, federal laws provide a special procedure that allows you to request a refund
     for losses you suffer if a substitute check is posted to your account (for example, if you think
     that the Bank withdrew the wrong amount from your account or that the Bank withdrew
     money from your account more than once for the same check). The losses you may attempt
     to recover under this procedure may include the amount that was withdrawn from your
                                                                                                             n
     account and fees that were charged as a result of the withdrawal (for example, bounced
     check fees).                                                                                            oRo

     The amount of your refund under this procedure is limited to the amount of your loss or the
     amount of the substitute check, whichever is less. You also are entitled to interest on the
     amount of your refund if your account is an interest-earning account. If your loss exceeds the
     amount of the substitute check, you may be able to recover additional amounts under other
     laws.
     If you use this procedure, you may receive up to $2,500 of your refund (plus interest if your
     account earns interest) within 10 business days after the Bank received your claim and the
     remainder of your refund (plus interest if your account earns interest) not later than 45
     calendar days after the Bank received your claim.
     The Bank may reverse the refund (including any interest on the refund) if we later are able to
     demonstrate that the substitute check was correctly posted to your account.




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        How do you make a claim for a refund?
        If you believe that you have suffered a loss relating to a substitute check that was posted
        to your account, please contact the Bank at 1-800-869-3557. You must contact the Bank
        within 40 calendar days of the date that the Bank mailed (or otherwise delivered by a means
        to which you agreed) the substitute check in question or the statement for your account
        showing that the substitute check was posted to your account, whichever is later. The
        Bank will extend this time period if you were not able to make a timely claim because of
        extraordinary circumstances.
        Your claim must include:
        •   A description of why you have suffered a loss (for example, you think the amount
            withdrawn was incorrect)
        •   An estimate of the amount of your loss
            An explanation of why the substitute check you received is non-sufficient to confirm that
            you suffered a loss
            A copy of the substitute check or the following information to help the Bank identify
            the substitute check: the check number, the name of the person to whom you wrote the
            check, and the amount of the check

        Special notice for check return customers
        Your account statement will provide information to inform you that a substitute check
        has posted to your account. The Bank will grant you rights described above in this notice
        concerning substitute checks as though you received a substitute check in the statement
        cycle describing the posting of it.




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     General
     Unless otherwise agreed in writing, the Bank may, without inquiry, accept a deposit to your
     account at anytime, from any party, made in any manner, including without limitation, a
                                                                                                                     0
     deposit based on an image of an item. The Bank may also refuse to accept all or any part of
     any deposit. The Bank may require that you deposit an item that is made payable to you to
     your account, instead of permitting you to cash the item. Also review the"Funds availability
     policy".

     Collection items
    Upon notice to you, the Bank may, in its sole discretion, handle a paper item as a collection
    item, instead of as a deposit. This means that the Bank sends the item to the issuer's bank for
     payment and credits your account when the Bank receives payment for the item.

     Material appearing on the back of items; check legends
     You are responsible for losses incurred by any person that cashes or accepts your paper items
     for deposit, if: (i) the loss is due to a delay in the return of the item; and (ii) the delay is caused
     by material appearing on the back of the item when it was issued or transferred by you.This
     material may include, but is not limited to, carbon bands, blacked out areas, and printed
     or written text or numbers. You are responsible for all losses, claims, damages or expenses
     (including attorney's fees and expenses) that result from a restrictive legend or notation on
     your paper items.
                                                                                                                    oRo
     Endorsements
     This subsection applies if the endorsement is necessary for the transfer or negotiation of the
    item. You authorize the Bank to supply your endorsement on any item that the Bank takes
    for collection, payment, or deposit to your account. You also authorize the Bank to collect
    any unendorsed item that is made payable to you without first supplying your endorsement,
     provided the item was deposited to your account.The Bank may refuse to pay or cash any
    item or accept any item for deposit or collection unless it is able to verify to its satisfaction
    that all of the necessary endorsements are present on the item. For example, the Bank may
     require that all endorsers be present at the time that an item is presented to the Bank for
     payment or encashment or accepted for deposit or collection.
     If you issue a check that contains a carbon band, printing, endorsements or other material
     on the back of the check outside the area extending Ph inches from the trailing edge
     of the check, that material could also interfere with endorsements by banks and cause
     delays in returning the check. Similarly, if you or a prior endorser signs, stamps or affixes an
     endorsement to a check for deposit which is outside of the area extending 11/2 inches from
     the trailing edge of a check, that material could also interfere with endorsements by banks
     and cause delays in returning the check. Therefore, you agree that (1) the Bank shall not
     be liable to you for and (2) you will indemnify and hold the Bank harmless from any and all
     claims, loss, costs and expenses (including without limitation reasonable attorneys' fees and
     the costs of litigation) that the Bank or you may incur as a result of the late return of a check
     caused by carbon band, printing, endorsements or other material on the back of any check
     drawn on or deposited to your account that extend outside the area extending Ph inches
     from the trailing edge of the check. The trailing edge is defined as the left side of the check
     when viewing it from the front.




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        Checks bearing notations

        Although we are not obligated to, we may pay or accept checks and other items bearing
        restrictions or notations (for example,"Void after six months""Void over $50""Payment in
        Full"), whether on the front or back, in any form or format. If you cash or deposit an item
        or write a check with such a notation, you agree that it applies only between you and the
        payee or maker.The notation will have no effect on us, and you agree to accept responsibility
        for payment of the item. You agree to indemnify, defend and hold harmless the Bank, its
        affiliates, officers, directors, employees, consultants, shareholders, and agents from all
        losses, claims, damages or expenses, (including attorney's fees and expenses) we incur, in
        connection with any maker or payee involving such notations, whether you are the maker or
        payee or the funds are otherwise deposited into an account which you have an interest.

        Breach of warranties

        If you breach any warranty that you make with the Bank or under the laws governing your
        account with respect to any item, you shall not be released or otherwise discharged from any
        liability for such breach so long as the Bank notifies you of the breach within 120 days after
        the Bank learns of the breach. If the Bank fails to notify you within this 120-day period, you
        shall be released from liability and discharged only to the extent that the Bank's failure to
        provide you notice within such time period caused a loss to you.

        When deposits are credited to your account

        All over-the-counter deposits or ATM deposits to your account which are received before the
        Bank's established cutoff time on any business daywill be credited (and will be considered
        deposited) to your account as of the close of business that day, and will be reflected in that
        day's ledger balance for your account. All other deposits will be processed in accordance
        with the written agreements governing such deposits or, if there is no written agreement,
        banking practice. All deposits received after the Bank's established cutoff time on a
        business day or at any time on a day which is not a business day will be credited (and will be
        considered deposited) to your account at the end of the next business day.

        Deposits at Bank

        The Bank's funds availability policy describes when funds deposited to your checking or
        savings account will be available to be used for all purposes.The Bank may change its
        collection schedule and funds availability policy from time to time, and provide any notice
        required by law.

        Deposits at     affiliates
        You may make deposits at an affiliate, provided the affiliate agrees. If you make a deposit at
        an affiliate, the availability of the deposit for withdrawal will be described in the affiliate's
        funds availability policy.




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     Deposits of non-U.S. items
    The Bank may refuse to accept for deposit or collection an item that is payable in currency
    other than U.S. dollars or an item that is not drawn on a financial institution chartered in the
                                                                                                               0
    U.S. (each, a "non-U.S. item"). If the Bank accepts any such item for deposit or collection, you
    accept all risk associated with foreign currency fluctuation (exchange rate risk) and with any
    late return of the item. You agree that the Bank may use the Bank's current buying and selling
     rate, as applicable when processing a non-U.S. item and may recover from any account you
    maintain with the Bank any loss incurred by the Bank as a result of its processing such an
    item for you.The Bank reserves the right to place longer holds on non-U.S. items than the
    time frames specified in the Bank's funds availability policy.

     Acts and omissions of other financial institutions
     When the Bank cashes, collects, or accepts a deposited item, the Bank is not liable for the
     insolvency, neglect, misconduct, mistake, or default of another bank or person, or for the
     loss or destruction of a paper item or notice of nonpayment in transit or in the possession of
     others. If a deposited item is lost or misrouted during the collection process or its subsequent
     return:
         The Bank shall have no responsibility to you for the actions or inactions of any collecting
         or returning bank
         The Bank may charge your account for the amount of the deposited item (and reverse any
         interest that may have accrued to your account in connection with the deposited item)
         You agree to cooperate with the Bank in recreating the deposited item

    Deposited items returned
     The Bank has the right to charge back to or otherwise debit any account(s) you maintain with
     the Bank for any deposited item that is returned (assess any associated fees and to reverse or
     recover any associated interest that may have accrued), even if you have made withdrawals
     against it. This right of charge back or debit is not affected by the expiration of any applicable
     midnight deadline, provided the Bank does not have actual knowledge that such deadline
     has expired or, having such knowledge, the Bank concludes that:
     •   The deposited item is returned in accordance with the laws governing your account or rule
         (including a clearing house rule)
     •   The Bank has received a breach of warranty claim in connection with the deposited item

    The Bank has the right to pursue collection of such deposited item, even to the extent of
    allowing the payor bank to hold the deposited item beyond the midnight deadline in an
    attempt to recover payment.The Bank may, without notice to you, redeposit a returned
    deposited item and represent it for payment by any means (including electronic means),
    unless the Bank has received instructions from you not to redeposit such deposited item.
    The Bank will have no liability for taking or failing to take any action to recover payment of a
    returned deposited item.
     If one of your deposited items is returned with a claim that there is a breach of warranty (for
     example, that it bears a forged endorsement or is altered in any way), the Bank may debit
     your account for the amount of the item (plus any associated fees) and pay the amount to
     the claiming party. The Bank is under no duty to question the truth of the facts that are being
     asserted, to assess the timeliness of the claim, or to assert any defense.
     The Bank need not give you any prior notification of its actions with respect to the claim.
     You agree to immediately repay any overdrafts. The Bank may create substitute checks from
     your deposited items to facilitate the forward collection of such items. Certain features of a

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         deposited item (such as security features) impair the quality of the substitute check that the
         Bank creates. You agree to indemnify and hold the Bank and its affiliates, officers, directors,
         employees, consultants, shareholders, and agents harmless from all claims, demands, losses,
         liabilities, judgments, and expenses (including attorney's fees and expenses) arising out of
         or in any way connected with such substitute check, including without limitation, any claim
         based on image quality of such substitute check.

         Direct deposits returned by the Bank
         If, in connection with a direct deposit plan, funds are deposited to your account and later
         returned to the originator, the Bank has the right to deduct the amount from that or any
         other account you have, without prior notice and at any time, except as prohibited by the
         laws governing your account.The Bank may also use any other legal remedy to recover the
         amount.

                                          deposited
         Reconstructing lost or destroyed deposited    items
                                                    items
         If a deposited item is lost or destroyed during processing or collection (either at the Bank
         or at another point in the payments system), you agree to cooperate fully with the Bank to
         reconstruct the deposited item by promptly:
            Providing the Bank with a copy of the front and back of the deposited item from your or
            the issuer's records
            Asking the issuer to place a stop payment on it (at the Bank's expense) and issue a
            replacement item to you (if the deposited item has not been paid)
            Reviewing your records and other information and conducting any additional research as
            may be reasonable to determine the issuer's identity (if you do not know the identity of
            the issuer of the deposited item)

         If you fail to cooperate with the Bank, at anytime without advance notice to you the Bank
         may reverse or otherwise adjust any credit made to your account for a lost or destroyed
         deposited item.




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     The Bank's policy is to make funds from your check deposits to your checking or savings
     account (in this policy, each an "accou nt") available to you on the first business day after
     the day we receive your deposit. Incoming wire transfers, electronic direct deposits, cash
     deposited at a teller window and at a Wells Fargo ATM, and the first $200 of a day's check               0
     deposit made through a Wells Fargo ATM will be available on the business day we receive
     the deposit. Certain electronic credit transfers, such as those through card networks or
     funds transfer systems, will be available on the first business day after the day we receive the
     transfer. Once they are available, you can withdraw the funds in cash and we will use the
     funds to pay checks and other items presented for payment and fees and expenses that you
     have incurred.

     Determining the day of receipt
     For determining the availability of your deposits, every day is a business day, except
     Saturdays, Sundays, and federal holidays. If you make a deposit before the Bank's established
     cutoff time on a business daythat we are open, we will consider that day to be the day of your
     deposit. However, if you make a deposit after our cutoff time or on a day we are not open, we
     will consider the deposit was made on the next business day we are open.
     Cutoff times may vary by location and are posted in each store. The earliest cutoff time for a
     store is 2:00 p.m. local time. Cutoff time for checks deposited at a Wells Fargo ATM is 9:00 p.m.
     local time (8:00 p.m. in Alaska).

     Longer delays may apply
     In some cases, the Bank will not make all the funds that you deposit by check available to
     you on the first business day after the day of your deposit. Depending on the type of check
     that you deposit, funds may not be available until the second or third' business day after the
     day of your deposit. The first $200 of your deposit, however, may be available on the first or
     second' business day.
     Except as otherwise explained in this paragraph, if the Bank is not going to make all funds
     from your deposit available on the first business day, we will notify you at the time you make
     your deposit. We will also tell you when the funds will be available. If your deposit is not
     made directly to a Bank employee, or if we decide to take this action after you have left the
     premises, we will mail you the notice by the first business day after we receive your deposit.
     If you need the funds from a deposit right away, you may ask the Bank when the funds will
     be available.
     In addition, funds you deposit by check may be delayed for a longer period under the
     following circumstances:
     •   The Bank believes a check you deposit will not be paid
     •   You deposit checks totaling more than $5,000 on any one day
     •   You redeposit a check that has been returned unpaid
     •   You have overdrawn your account repeatedly in the last six months
     •   There is an emergency, such as failure of computer or communications equipment

     The Bank will notify you if we delay your ability to withdraw funds for any of these reasons,
     and we will tell you when the funds will be available.The funds will generally be available no
     later than the seventh or eighth' business dayafter the day of your deposit.




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        Additional rules for Opportunity Checking® and Opportunity Savings' accounts
        The Bank's policy is to delay the availability of funds from your check deposits. During the
        delay, you may not withdraw the funds in cash and we will not use the funds to pay checks
        and other items presented for payment and fees and expenses that you have incurred.
        Determining the availability of a deposit
        The length of the delay is counted in business days from the day of your deposit. Every day is
        a business day except Saturdays, Sundays, and federal holidays. If you make a deposit before
        the Bank's established cutoff time on a business daythat we are open, we will consider that
        day to be the day of your deposit. However, if you make a deposit after our cutoff time or
        on a day we are not open, we will consider that the deposit was made on the next business
        day we are open. The length of the delay varies depending on the type of deposit and is
        explained below.
        Same-day availability
        Funds from incoming wire transfers, electronic direct deposits, and cash deposited at a teller
        window will be available on the business day we receive the deposit.
        Next-day availability
        Funds from the following deposits are available on the first business day after the day of your
        deposit:
        •   U.S. Treasury checks that are payable to you
        •   Checks drawn on the Bank
        If you make the deposit in person to one of our employees, funds from the following
        deposits are also available on the first business day after the day of your deposit:
        •   State and local government checks that are payable to you
        •   Cashier's, certified, and teller's checks that are payable to you
        •   Federal Reserve Bank checks, Federal Home Loan Bank checks, and U.S. Postal Service
            money orders, if these items are payable to you
        If you do not make your deposit in person to one of our employees (for example, if you mail
        the deposit), funds from these deposits will be available on the second business day after the
        day we receive your deposit.
        Other check deposits
        All other check deposits are considered local checks. From your deposit, $200 will be
        available on the first business day after the day of the deposit. The remaining balance will be
        available on the second or third' business day after the day of your deposit.
        Longer delays may apply
        Funds you deposit by check may be delayed fora longer period under the following circumstances:
        •   We believe a check you deposit will not be paid.
        •   You deposit checks totaling more than $5,000 on any one day.
        •   You redeposit a check that has been returned unpaid.
        •   You have overdrawn your account repeatedly in the last six months.
        •   There is an emergency, such as failure of computer or communications equipment.
         The Bank will notify you if we delay your ability to withdraw funds for any of these reasons,
        and we will tell you when the funds will be available.They will generally be available no later
        than the seventh or eighth' business day after the day of your deposit.



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     Special rules for new accounts

     During the first 30 days your account is open, if we delay the availability of your deposit,
     the following additional special rules will apply:
                                                                                                              0
         The first $5,000 of a day's total deposits of cashier's, certified, teller's, traveler's, and
         federal, state, and local government checks and U.S. Postal Service money orders made
         payable to you will be available on the first business day after the day of your deposit.
         The excess over $5,000 will be available on the seventh business day after the day of
         your deposit.
         Funds from all other check deposits will be available on the seventh or eighth' business
         day after the day of your deposit. The first $200 of a day's total deposits of funds from all
         other check deposits, however, may be available on the first or second' business day after
         the day of your deposit.
         We will notify you if we delay your ability to withdraw funds and we will tell you when the
         funds will be available.

     Holds on other funds (check cashing)

     If the Bank cashes a check for you that is drawn on another bank, we may withhold the
     availability of a corresponding amount of funds that are already in your account.Those funds
     will be available at the time funds from the check we cash would have been available if you
     had deposited it.

     Holds on other funds (other account)

     If the Bank accepts a check for deposit that is drawn on another bank, we may make funds
     from the deposit available for withdrawal immediately but delay your ability to withdraw
     a corresponding amount of funds that you have on deposit in another account with us.
     The funds in the other account would then not be available until the time periods that are
     described in this Policy.

     Delays on other funds

     Funds from any deposit (cash or checks) into accounts domiciled in Iowa and Nebraska made
     at eligible non-Wells Fargo ATMs in those same states will not be available until the third
     business day after the day of your deposit.This rule does not apply at ATMs that we own or
     operate. All ATMs that we own or operate are identified on our machines as "Wells Fargo".

     '   The Bank may delay availability of funds by one additional business day for certain checks
         deposited at a Bank location in Alaska.This right applies only if the check is drawn on or
         payable at or through a paying bank not located in Alaska.




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                                    availablebalance
         Determining your account's available balance
         Your available balance is the most current record we have about the funds that are available
         for withdrawal from your account. In determining whether you have sufficient funds to cover
         a transaction, we will consider all transactions that have posted to your account, any holds
         that may be in place on deposits you have made, and pending transactions (such as pending
         debit card purchases or ATM withdrawals) that the Bank has authorized but that have not yet
         posted to your account.
         Please note it is still possible for you to overdraw your account even though the available
         balance appears to show there are sufficient funds to cover a transaction that you want
         to make. The available balance does not reflect all your outstanding checks, automatic bill
         payments (such as ACH and recurring debit card transactions) that you have authorized, or
         other transactions that have not been paid from your account. For example, when you write
         a check, the payee may not present the check to us for payment on the same day, so the
         outstanding check will not be reflected in your available balance.
         Also, your available balance may not reflect all of your card transactions. For example, if
         a merchant does not submit a one-time debit card transaction for payment within three
         (3) business days of authorization (or for up to thirty (30) business days for certain types of
         debit or ATM card transactions, including but not limited to, car rental transactions, cash
         transactions, and international transactions), we must release the authorization hold on the
         transaction. The available balance will not reflect this transaction until it has been received
         by us and paid from your account. See the section entitled "authorization holds for card
         transactions" for information about how authorization holds affect your available balance. A
         one-time debit card transaction is referred to as an "everyday debit card transaction" in the
         document entitled Consumer Overdraft Services.
         Finally, your available balance may not reflect the most recent deposits to your account. For
         details on the availability for withdrawal of your deposits, see the section entitled "Funds
         availability policy'

                                         items
         Order of posting; categories of items
         We post transactions during our nightly processing each business day. Generally, we first post
         deposits or incoming transfers received before the deposit cutoff time that day. We then post
         your withdrawals (such as ATM, debit card or check transactions) that have been received for
         payment from your account. We pay some categories (or types) of transactions, such as debit
         card transactions, before other types of transactions, such as checks.
         The order in which items are posted to your account will depend upon a number of factors.
          For example, in connection with our process of posting items, we have the right to
         (i) establish different categories of items, (ii) establish a posting order for each category of
         item(s), and (iii) establish different posting orders for items within each category. Except to
         the extent limited by federal regulatory and judicial authorities, we have the right to change
         any of the factors described in (i), (ii) and (iii) listed above at any time without notice to you.
         Establishing categories of items. We group items into categories defined by us. For example,
         we may group card transactions into one category, and group checks into another category.
         A single category established by us may include more than one type of item.
         Establishing a posting order for each category of item(s). We pay some categories (or types) of
         transactions, such as debit card transactions, before other types of transactions, such as checks.
         Establishing a posting order of items within a single category. If there are multiple
         transactions within a category, the order in which the transactions are posted will vary
         depending on the type of transaction.

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     For example, we will pay the most common types of transactions in the following order:
        ATM, debit card, Wells Fargo Online Bill Pay, account transfers, teller cashed checks and
        teller cash withdrawals - transactions will be sorted by the date the transaction was
                                                                                                                0
        conducted. For a debit card transaction, if a merchant does not seek pre-authorization
        from the Bank at the time of the transaction, we will use the date the transaction is
        received for payment from your account. If there are multiple transactions on a date,
        those transactions will be sorted by time (where that information is available to our
        posting systems); the remaining transactions on that date will be sorted and paid from
        lowest to highest dollar amount.
        Checks and automatic payments (also known as ACH)
        All states except Nevada
        If there are multiple transactions, the transactions will be sorted and paid from highest to
        lowest dollar amount.
        Nevada only
        If there are multiple transactions, the transactions will be sorted in sequential order if
        the item has a serial number. Items without a serial number will be paid from highest to
        lowest dollar amount.

     Relation between posting order and overdrafts/returned items
                                                                                                              a,, ro
    On any given business day, if we receive more than one item for payment and if we determine
    there are sufficient funds to pay one or more but not all of the items, then the number of
                                                                                                              o'Ro
    items paid and the overdraft and returned item fees assessed could be affected by the order
    that we choose to post those items. For example, if we post items in the order of highest to
     lowest dollar amount, the total number of overdraft and returned item fees you are charged
    could be larger than if we were to post the items in a different order.

    Paper items presented over-the-counter for payment by a non-customer
     If a paper item drawn against your account is presented over-the-counter for payment by a
     person who does not have a deposit account at the Bank, the Bank may require identification
     acceptable to the Bank and not prohibited by the laws governing your account, including a
     fingerprint of the person presenting the paper item. The Bank may dishonor the paper item if
     the person refuses to provide the identification the Bank requests.

     Large cash withdrawals and deposits

     If you want to cash a check (or make a cash withdrawal) for a very large sum, the Bank may
     require five business days advance notice so that it can order the cash from its vault. The Bank
     may require that you provide adequate security but the Bank has no obligation to do so.
     The Bank may also require that you arrange to pick up the cash at the Bank's central vault or
     other location. If you want to deposit cash for a very large amount, the Bank may, but is not
     obligated to, require you to provide adequate security or exercise other options to mitigate
     possible risks.

     Withdrawals at affiliates

     You may make withdrawals from your account at an affiliate, provided the affiliate agrees.
     If an affiliate cashes an item for you, the bank may place a hold on your account(s) for a
     corresponding amount of funds. If the item is later returned to the affiliate for any reason, the
     Bank may debit one or more of your accounts at the Bank for the amount of the item.



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        Items resulting from your voluntary disclosure of your account number
        If you voluntarily disclose your account number to another person orally, electronically,
        or in writing, or by some other means, and the Bank determines that the context of such
        disclosure implies your authorization to debit your account, the Bank may treat such
        disclosure as your authorization to that person to issue Items drawn against your account.

        Forgeries or missing signatures; alterations
        The Bank will have no responsibility for reviewing the number or combination of signatures
        on or with an item drawn against your account.This means that if you have indicated that
        more than one signature is required in connection with an item drawn on your account, the
        Bank will have no liability to you if a transaction is conducted on or through your account
        contrary to the signature requirements you have specified, provided at least one of the
        required signatures appears on or with the item. The Bank will have no liability to you for
        failing to detect a forgery of your signature or an alteration of one of your items, if the forgery
        or alteration is such that a reasonable person could not reasonably be expected to detect it.

        Dates and special instructions on paper items
        The Bank may, without inquiry or liability, pay one of your paper items even though:
        •   Special instructions written on the paper item indicate that the Bank should refuse
            payment (e.g.,"Void after 30 days,""Paid-in-full,"or"Void over $100")
        •   The paper item is stale-dated (i.e., it bears a date that is more than six months in the past),
            even if the Bank has knowledge of the date on the paper item
        •   The paper item is post-dated (i.e., it bears a date in the future)
            The paper item is not dated

        In addition, the Bank may pay in U.S. dollars the amount that has been MICR-encoded
        on your paper item, even though you have purportedly drawn the paper item in a foreign
        currency.

        Facsimile or mechanical signatures
        If you have elected to use a facsimile or other mechanical signature (including a stamp)
        to sign or endorse a paper item, the Bank may rely on that signature (or any signature that
        purports to be your facsimile or other mechanical signature) as your authorized signature
        without regard when or by whom or by what means or in what ink color such signature
        may have been made or affixed to a paper item deposited to or drawn against or otherwise
        debited from your account.

        The Bank's right to require notice
        If your account is a negotiable order of withdrawal account ("NOW account") or savings
        account, then in accordance with Regulation D, the Bank reserves the right to require seven
        days written notice before you withdraw money from your account.




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     General
    "Stop payment order" refers to both an order to the Bank not to pay a paper item and to a
    notice of post-dating. To be effective, a stop payment order must be received in a time and
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    manner that gives the Bank a reasonable opportunity to act on it before paying, accepting,
    certifying, cashing, or otherwise becoming obligated to pay your paper item as provided in
    the Uniform Commercial Code. Each stop payment order is subject to the Bank's verification
    that the item described in the order has not been paid.This verification may occur
    subsequent to the time the Bank accepts the stop payment order.

     Content of stop payment order
     To be valid:
     •   Name of the payee
     •   Account number on which paper item is drawn
    •    Paper item amount
    •    Paper item number or a range of item numbers
    The Bank may, at its sole discretion, use only a portion of the required information in order
    to identify a paper item. Failure to provide correct and complete information may prevent us
    from acting on the stop payment order. You agree to indemnify and hold the Bank and its                z(7
    affiliates, officers, directors, employees, consultants, shareholders, and agents harmless from        5,a)
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    and against any loss incurred by the Bank as a result of the Bank's paying a paper item if any
    of the information relied upon in the stop payment order is incorrect or incomplete.                   o'Ro

     Effective period of stop payment order; renewal; revocation
    It is your obligation to remove a stop payment order for a post-dated paper item once the
    paper item is no longer post-dated. You must renew a stop payment order if you do not want
     the stop payment order to expire. Each renewal is treated as a new stop payment order. The
     Bank is permitted but need not honor, a paper item after a stop payment order has expired,
     even though the paper item is more than six months old. An instruction to revoke a stop
     payment order must be received in a time and manner that gives the Bank a reasonable
     opportunity to act on it.

     Liability to holders in due course
     Notwithstanding the timely return of any paper item due to a valid stop payment order, you
     may still be liable under the laws governing your account for the amount of that Item.

    Paper items paid over valid stop payment orders
    If the Bank pays a paper item over a valid stop payment order, then the Bank will credit your
    account for the amount of loss you prove has occurred, or the face amount of the paper item,
    whichever is less. The Bank may charge your account for the amount of a post-dated paper
    item on or after the date of the post-dated paper item, unless you have given the Bank a new
    stop payment order.




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        Overdrafts and Non-Sufficient Funds/NSF
        General

        It is important to keep track of the funds in your account that are available for you to use
        before you write a check, make a cash withdrawal at an ATM, or use your card for a purchase.
        We encourage you to manage your funds responsibly by keeping track of transactions
        using the tools that suit you - keeping a running balance in your checkbook, using Online
        Alerts, and checking your available balance online, by phone, or at a Wells Fargo ATM.
        Don't forget to keep track of your outstanding checks or automatic bill payments you may
        have authorized, as your available balance will not reflect these transactions until they are
        paid from your account. As discussed in the section entitled "Determining your account's
        available balance,"our record of your available balance may also not reflect all of your card
        transactions, including transactions that have been authorized but not yet submitted by
        the merchant for payment. Do not assume that you can make a covering deposit before
        an item is presented for payment because your deposit may not be immediately available
        for withdrawal and items are often presented for payment very quickly. (See our"Funds
        availability policy" for complete details).

        Debit card overdraft service

        You can tell us how you want your ATM and everyday (one-time) debit card transaction
        handled when you do not have enough money in your checking account or linked overdraft
        protection accounts to cover your transaction. Adding the debit card overdraft service to
        your checking account may be an appropriate"back-up" plan to avoid declines when you
        do not have sufficient funds in your checking account or linked overdraft protection account
        to cover a transaction. If you prefer to have your ATM and everyday (one-time) debit card
        transactions approved, at the Bank's discretion, if you do not have sufficient funds, you may
        want to consider this service.

        Important details
              There is no fee if your account is overdrawn during the day and you make a sufficient
              deposit or transfer before the posted "cutoff"time on the same business day. Deposits
              are subject to our funds availability policy.
              The payment of transactions into overdraft is discretionary and the bank reserves the
              right not to pay. For example, the bank typically does not pay overdrafts if your account
              is not in good standing or you have had excessive overdrafts.
              If an ATM or everyday debit card transaction overdraws your account, you will pay the
              overdraft fee described in the service fee section "overdraft (OD), returned item (Non-
              Sufficient Fu nds/NSF)". You must immediately bring your account to a positive balance.
              This service does not apply to checks and other transactions such as Bill Pay, ACH and
              debit card transactions that you have established for recurring payment (such as utilities
              or club memberships). The Bank may continue to authorize or pay these transactions at
              our discretion, even if you do not sign up for the debit card overdraft service.

        Overdraft protection plans
        If you enroll in an overdraft protection plan (such as a linked savings or credit card account)
        and there are sufficient available funds under that plan to cover the amount of the overdraft,
        we will pay the item, and an overdraft protection transfer or advance fee will apply. If there
        are insufficient available funds under that plan to cover the amount of the overdraft, the
        following terms apply:



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       For ATM and one-time debit card transactions:
          If you have requested that we pay overdrafts for ATM and one-time debit card
          transactions (also known as everyday debit card transactions), we have the right to
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          either (i) decline the transaction or (ii) pay the transaction by transferring available
          funds under the overdraft protection plan to the account and creating an overdraft in
          your account in the amount of the difference between the amount of the transaction
          and the amount transferred.
         If you have not requested that we pay overdrafts for these types of transactions, but
         your account nonetheless becomes overdrawn, we will not charge you for the resulting
         overdraft. However, we are permitted to transfer any available funds under the overdraft
         protection plan to your account, and you will be subject to any fees in accordance with
         the terms governing that plan.
       For items other than ATM and one-time debit card transactions
      We have the right to either (i) return the item or (ii) pay the item by transferring available
      funds under the overdraft protection plan to the account and creating an overdraft in
      your account in the amount of any difference between the amount of the item and the
      amount transferred.

    Overdrafts
     If you do not have an overdraft protection plan, the actions we are authorized to take with
     respect to a transaction creating an overdraft depends upon the type of item involved in the
     transaction.
          ATM and one-time debit card transactions. We will not authorize an ATM or one-time
          debit card transactions if it appears from your available balance that allowing the
          transaction will result in an overdraft to your account, unless you have requested us
          to pay overdrafts on these transactions. We reserve the right on a case-by-case basis,
          to authorize and pay, at our discretion, an ATM or one-time debit card transaction.
          Regardless, if you have not requested payment of overdrafts on these transactions, we
          will not charge you an overdraft fee if an ATM or one-time debit card transaction pays
          into overdraft, but you must immediately repay the resulting overdraft. Even if you
          request us to pay such overdraft transactions, it does not mean that we will allow such
          transactions to occur. Information about how you may request us to pay ATM and one-
          time debit card transactions that create overdrafts is separately provided.
          Items other than ATM and one-time debit card transactions. We have the right to take
          the following actions without prior notice to you if we receive an item, other than an
          ATM or one-time debit card transaction, for payment against your account and there are
          insufficient funds in your account to cover the item:
          - Pay the item and create an overdraft to your account, or
          - Return or decline the item.
     We will in no instance be obligated to pay an item and create an overdraft even if we may
     have previously established a pattern of honoring or dishonoring such an item. Any negative
     balance on your account is immediately due and payable by you, unless we agree otherwise
     in writing, and you agree to reimburse us for the costs and expenses (including attorney's
     fees and expenses) we incur in recovering the negative balance (including overdraft and
     associated fees.)




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        Overdraft protection plans
        The Bank offers a number of overdraft protection plans to help you avoid the inconvenience
        and expense of overdrafts and returned items. If there is an overdraft in your checking
        account, the Bank will automatically access available funds in the Wells Fargo account(s) you
        have linked to your checking account to cover the overdraft so the available balance in your
        checking account is sufficient to cover paid items and/or notices of presentment (pending
        authorized point-of-sale transactions). The types of accounts that can be linked for overdraft
        protection depend on the checking account you have.
            You may link one savings account and one eligible credit card or line of credit account,
            except where expressly prohibited by law. See your credit agreement for the terms
            governing overdraft protection advances from your credit card or line of credit account.
            If you link both a savings account and credit account as overdraft protection, you can
            designate the account that you want the Bank to access first.
            If you do not designate an account, the Bank will access funds in your savings account
            first, up to the available balance, and then from your credit account. If there are not
            enough funds or credit available to cover the entire amount of an item presented for
            payment, the Bank may take any of the actions specified in the subsection "Overdrafts and
            Non-Sufficient Funds/NSF"
            The account to which the Bank charges its overdraft protection transfer fee depends on
            the account used for overdraft protection. When the Bank accesses funds in your savings
            account or your line of credit account, the Bank's fee is charged to your checking account.
            See"service fees" in the Schedule applicable to your account. When the Bank accesses
            funds through your credit card account, the Bank's fee is charged to your credit card
            in accordance with your credit card agreement. You will be subject to interest charges
            on funds accessed from your line of credit or credit card and other fees or charges (if
            applicable) in accordance with your line of credit agreement or credit card agreement.

        Security interest; the Bank's right to setoff

        To secure your performance of this Agreement, you grant the Bank a lien on and security
        interest in your account at the Bank and your accounts with any affiliate of the Bank. In
        addition, you acknowledge that the Bank may setoff against any accounts you own at the
        Bank (including matured and unmatured CDs) with any affiliate of the Bank for any obligation
        you owe the Bank at any time and for any reason as allowed by the laws governing your
        account.These obligations include both secured and unsecured debts and debts you owe
        individually or together with someone else. The Bank may consider this Agreement as your
        consent to the Bank's asserting its security interest or exercising its right of setoff should any
        laws governing your account require your consent.The Bank's security interest and its right
        of setoff shall not apply if such security interest or right would invalidate the tax-deferred
        status of any tax-deferred retirement account (e.g., a SEP or an IRA) that you maintain with
        the Bank. If your account is an unmatured CD, the Bank may deduct any early withdrawal
        fee that may be due as a result of the Bank having exercised its right of setoff. The rights
        described in this subsection are in addition to and apart from any other rights, including any
        rights granted under any security interest that you may have granted to the Bank.




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     For each checking account, the Bank may establish on your behalf, a master account and
     two subaccounts. All information that is made available to you about your account will be
     at the master account level.The subaccounts are composed of a savings account and a
     transaction account. On the first day of each month, the Bank will allocate funds between the                0
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     two subaccounts as it deems appropriate. Items received by the Bank that are drawn against
     your master account will be presented for payment against the transaction subaccount.
     Funds will be transferred from the savings subaccount to cover checks presented against
     the transaction subaccount as may be needed. On the sixth transfer from the savings
     subaccount during a statement period all of the funds on deposit in the savings subaccount
     will be transferred to the transaction subaccount. If your account earns interest, the use of
     subaccounts will not affect the interest you earn.




     Accounts owned by more than one person

     If two or more of you open an account together, the Bank may presume that it is owned
     by all of you as joint tenants with right of survivorship, unless: state laws governing your
     account require other treatment, or the Bank otherwise agrees with you in writing that the
     account is owned in some other capacity. Regardless of the form of ownership, the Bank is
                                                                                                              n
     not obligated to separately record each co-owner's interest in the account.
     Not every form of ownership described below is available in every state:                                 oRo

     Joint tenants with right of survivorship
     If your account is held by you as joint tenants with right of survivorship and one of you dies,
     the account is payable to any surviving co-owner, subject to the Bank's right of setoff and
     security interest in the account.

     Tenants-in-common
     If your account is held by you as tenants-in-common and one of you dies, the Bank may pay
     the account, subject to the Bank's right of setoff and security interest in the account, in whole
     or in part, to any surviving co-owner or to the personal representative, heirs, or successors of
     the deceased owner.

     Community property
     If your account is held as community property, the owners of the account are husband and
     wife, and each has an equal and undivided interest in the account during their lifetimes.
     When one spouse dies, ownership does not automatically pass to the survivor; rather, the
     deceased spouse can pass his or her interest by will. Community property does not exist in
     every state. You should ask your own legal adviser to determine whether your account will
     be treated as community property.

     Marital property
     If your account is held as a marital account, the owners of the account are husband and wife,
     and each has an equal and undivided interest in the account during their lifetimes. When
     one spouse dies, 50 percent of the funds belong to the surviving spouse and 50 percent of
     the funds belong to the estate of the deceased spouse, or if applicable, are paid to the Pay-
     On-Death (POD) beneficiary. A marital account is available only in the state of Wisconsin, and
     only if the Bank agrees in writing to establish your account as a marital account.


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        Pay-On-Death (POD) accounts

        Regardless of how it is designated, an account that is payable on your death (or the death of
        the last surviving co-owner) to one or more named payees is considered a POD account. A
        POD account may be alternatively described as"payable on death;'(POD),"in trust for," (ITF),
        "transfer on death," (TOD), a "Totten Trust" or otherwise. An account that is owned by one or
        more persons as trustee for one or more beneficiaries is also a POD account if: the account is
        to be paid to the beneficiaries only on your death or the death of the last surviving co-owner;
        the relationship of the trustees and the beneficiaries is established by this Agreement; and
        there is no subject of the trust other than the sums on deposit in the account.
        Unless the account is held as community property or marital property, payee or beneficiary
        must survive all owners to have an interest in the account. You may change, add, or remove
        the name of any payee or beneficiary anytime by giving proper written notice to the Bank.
        If at the time you die (or the last surviving co-owner dies), a payee or beneficiary is a minor,
        the Bank may in its discretion transfer the payee's or beneficiary's interest to the person who
        is appointed custodian for that payee or beneficiary according to the applicable Uniform
        Transfers/Gifts to Minors Act.

        Uniform transfers/Gifts to minors act accounts

        An account established under a state's uniform transfers/gifts to minors act is controlled by
        the custodian (or a successor custodian). Only the named custodian (or successor custodian)
        is authorized to instruct the Bank regarding the account.The Bank may, however, disclose
        information about the account to the minor or the minor's representative. When the
        minor reaches the age that transfer by the custodian to the minor is mandated, or anytime
        thereafter, the Bank may pay the funds on deposit in the account to the minor in accordance
        with the custodian's duty without waiting for instructions from the custodian.The custodian
        agrees to keep the Bank informed of the minor's location.

        Minor-by accounts

        One or more adults may open an account in the name of the minor as allowed by the Bank
        or state laws governing your account. (An "adult" is a person who has reached the age of
        majority.) Beneficial ownership of the funds deposited in the account vests exclusively in
        the minor. Control of the account is vested exclusively in the adult throughout the period
        of minority. If there is more than one adult, each may act independently.The Bank is not
        obligated to inquire about or investigate the application of the funds. When the minor
        reaches the age of majority, the Bank may act on the instructions of either the minor or
        the adult. If the adult (or the last of the adults to survive) dies before the minor reaches the
        age of majority, the Bank may transfer the funds to the person who is appointed custodian
        according to the uniform transfers/gifts to minors act, as enacted in the state in which the
        Bank branch holding the account is located.

        Transferring an interest in your account

        To be effective, an assignment must be agreed to by all co-owners and accepted in writing
        by the Bank. If you attempt to pledge, assign, or in any other manner transfer all or a part
        of any interest in or to your account, the Bank is not bound by the transfer or assignment
        until the Bank acknowledges its acceptance in writing. The Bank does not have to accept or
        in any way recognize the transfer, and the Bank is not obligated to make any further inquiry
        regarding the matter. The Bank does not need to acknowledge or in any way respond to or
        act on any document the Bank receives that claims to assign or transfer any interest in your
        account. If the Bank does accept or in any way recognize the transfer, the Bank may, in its


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     sole discretion, make such acceptance or recognition conditional. Unless the Bank expressly
     agrees in writing to the contrary, any rights of a transferee or an assignee are subject to
     the Bank's right of setoff and security interest in the account, and you are responsible for
     notifying such transferee or assignee of such fact. The Bank is not obligated to notify you or             0
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     any other person before the Bank disburses any funds from your account according to what
     the Bank in good faith believes to be the terms of the transfer or assignment.

     Reliance on Bank records to determine ownership

     The Bank may rely solely on its records to determine the form of ownership of your account.
     The Bank may presume that any person named in addition to you in its records for your
     account owns the funds in your account with you as a co-owner, unless the Bank's records
     indicate that the person is an authorized signer or has some other relationship to the account.

     Failure to supply signature

     The failure of a person identified in the Bank's records as an owner or a co-owner of an
     account to sign a signature card (or other account related documentation) does not prevent
     the Bank, in its sole discretion, from treating such person as an owner or a co-owner of that
     account, and the Bank is not liable to anyone else as a result.

     Instructions of co-owners and their representatives
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     The Bank may act on the instructions of any co-owner (or a co-owner's legal representative),           n
     including instructions to withdraw or transfer funds, make payments, or close the account.             o'Ro
     The Bank may pay any sums in the account on request of any co-owner (or a co-owner's
     legal representative), regardless of their contributions, whether any other co-owner is then
     incapacitated or deceased or whether the account includes a right of survivorship.The Bank
     may act on the instructions of any co-owner of an account to open additional, like-titled
     accounts, provided the same signature requirements apply to such accounts.

     Joint liability

     If there is an overdraft to your account, you are each individually and jointly liable for the
     amount, regardless of who caused or benefited from the overdraft. If there is a setoff, the
     Bank's enforcement of its security interest in your account, or legal action (such as a third
     party garnishment, seizure, forfeiture, or tax levy), affecting any co-owner, the Bank has the
     right to treat all funds in the account as belonging to the person against whom the setoff,
     enforcement of the security interest or other legal action is directed. If your account is
     closed for unsatisfactory handling, the Bank is permitted to report all of you to the consumer
     reporting agencies.

     Death or incompetence

     You agree to notify the Bank immediately in writing if any co-owner or authorized signer on
     your account dies or is declared incompetent by a court. You also agree to instruct all owners
     and authorized signers on your account to notify the Bank of such an event.




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         General
         This Agreement constitutes the entire agreement between you and the Bank and supersedes
         prior oral or written representations, conditions, warranties, understandings, proposals, or
         agreements regarding your account and any service. Headings do not constitute a part of
         this Agreement. No person or entity will be deemed to be a third party beneficiary under this
         Agreement.

         Acceptable form of paper items, Document and image quality
         You agree to comply with the Bank's specifications for paper items, including, without
         limitation, paper stock, dimensions, and other generally applicable industry standards for
         paper items and to include on your paper items the Bank's name and address as directed
          by the Bank. Certain features (such as security features) of an original paper item issued by
         you or any deposited item may impair the image quality of a substitute check, purported
         substitute check, or electronic item, that the Bank or any third party creates from that paper
         item or deposited item. The Bank reserves the right to accept paper items. The Bank will not
          be liable for any claims, demands, judgments, or expenses (including attorney's fees and
         expenses) paid, suffered or incurred by you, and you will indemnify and hold the Bank and
         its affiliates, officers, directors, employees, consultants, shareholders, and agents harmless
         from and against any claims, demands, judgments, or expenses (including attorney's fees
         and expenses) paid, suffered, or incurred by the Bank, arising directly or indirectly as a result
         of or in connection with the untimely return of any check you have issued as a result of, and
         any presentment-related problem resulting from, the failure of the check to conform in any
          respect to the Bank's specifications for paper items, including without limitation, failure to
         include the Bank's full name and address on the paper item.

         Account conversion
         The Bank may convert your account to another type of deposit account offered by the
         Bank at anytime, provided the Bank gives you any advance notice that may be required.
         If you have a high volume of activity, inappropriate activity, or a negative balance or if the
         Bank stops offering the type of account you have, the Bank may convert your account to
         another type of account designed to accommodate your needs. The Bank will give you more
         information about your new account when it converts your account.

         Closing your account
         You or the Bank may close your account at any time. If the account is closed, the Bank may
         send the collected balance on deposit in your account by ordinary mail to your most recent
         address shown on the Bank's records. The Bank may, but shall not be required to, allow you
         to leave on deposit sufficient funds to cover outstanding items to be paid from your account.
         If the Bank does allow such funds to remain on deposit, the terms and conditions of this
         Agreement shall continue until the Bank makes a final disbursement from your account. If
         the Bank does not allow you to keep any funds on deposit, the Bank will not be liable for
         any loss or damage that may result from dishonoring any of your items that are presented
         or otherwise received after your account is closed. If your account is an interest-earning
         account, it will cease to earn interest from the date you request it be closed. If your account
         balance does not reach zero within three months from the date of your request, the Bank
         may close your account and send you the balance as described above or return your account
         to active status.




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     Contract language
     English is the controlling language of the relationship between you and the Bank.The
     Bank may translate its forms, disclosures, and advertisements into another language for
                                                                                                              0
     your convenience. However, if there is a discrepancy between the Bank's English language
     materials and the materials in another language, the English language version is controlling,
     unless:
         The Bank otherwise agrees with you in writing
         The laws governing your account specifically provide for a different result.

     You agree to issue paper items in English. You further agree that the Bank will not be liable for
     any losses incurred if you do not comply with this restriction.

     Credit reports
     You authorize the Bank to make any inquiries that it considers appropriate to determine if it
     should open and maintain your account. This may include ordering a credit (or other) report
     (e.g. information from any motor vehicle department or other state agency) on you.

     Disclosure of information
     Generally, absent your consent, the Bank will not disclose information about your account,
     except under the following circumstances:
     •   To comply with a statute, regulation, or rule
     •   In connection with examinations by state and federal banking authorities
     •   To comply with any legal process, including, without limitation, a subpoena, search
         warrant, or other order of a government agency or court
     •   When the Bank determines that disclosure is necessary or appropriate in order to
         complete a transaction
     •   To verify the existence and condition of your account for a third party, such as a merchant
         or credit bureau
     •   To provide information to your legal representative or successor
     •   To report the involuntary closure of your account
     •   When the Bank concludes that disclosure is necessary to protect you, your account, or the
         interests of the Bank
     •   To agents, independent contractors, and other representatives of the Bank in connection
         with the servicing or processing of your account or account transactions, or similar
         purposes
     •   To its affiliated banks and companies
     •   If you give your permission




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        Dormant and unclaimed accounts
        Your account is dormant if, for one year fora checking account or three years fora savings
        account or CD, there is no customer-initiated activity (except where state laws governing
        your account require otherwise). If your account is dormant, the Bank may hold all
        statements for your account, but normal maintenance and other fees continue to apply
        except where prohibited. Card privileges (including ATM and point-of-sale access) may also
        be blocked or terminated.
        If your account remains dormant and is unclaimed by you for the period required under
        the state laws governing your account, the Bank is required by that law to "escheat"the
        funds; that is, to deliver the funds in your account to the state.The Bank may charge a fee for
        mailing an escheat notice. When the funds in your account are delivered to the state, your
        account is closed, and no interest accrues. To recover funds delivered to the state, you must
        file a claim with the state.

        Laws governing your account
        Your account is governed by the laws and regulations of the United States and, to the extent
        applicable, the laws of the state in which the office of the Bank that maintains your account is
        located (unless the Bank has notified you in writing that the laws of another state shall govern
        your account), without regard to conflicts of laws principles, or clearing house rules and the
        like. If you were not physically present at an office of the Bank when you opened your account
        (for example, if you opened your account by phone, through the mail, or over the Internet),
        your account will be governed by the laws of the state in which the main office of the Bank
        is located, unless the Bank notifies you that your account has been assigned to a particular
        office of the Bank. If the Bank does notify you that your account has been assigned to a
        particular office, the laws of the state in which that office is located will govern your account.
        Notwithstanding the preceding paragraph, any funds transfer (including a wire transfer) that
        is a "remittance transfer" as defined in Regulation E, Subpart B, shall be governed by the laws
        of the United States and, to the extent applicable, the laws of the state of New York, including
        New York's version of Article 4A of the Uniform Commercial Code, without regard to its
        conflict of laws principles.
        The Bank and you agree that any lawsuits, claims, or other proceedings arising from or
        relating to your account or this Agreement, including without limitation, the enforcement
        of the arbitration agreement in this Agreement and the entry of judgment on any
        arbitration award, shall be venued exclusively in the state or federal courts in the state
        whose laws govern your account (unless the Bank has notified you that your account will
        be assigned to a particular office, in which case it shall be venued exclusively in the state
        or federal courts located in the state in which that office is located), without regard to
        conflict of laws principles.

        Limit on number of accounts
        The Bank reserves the right to limit each account type per account holder or per household.
        The term "household" refers to all persons occupying an individual housing unit, whether a
        single person or two or more unrelated persons.




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                     Agreement
     Modification of Agreement
     The Bank may, in its sole discretion, from time to time change this Agreement by adding new
     provisions or by modifying or deleting existing provisions. Each such addition, modification
                                                                                                               0
     or deletion is referred to in this Agreement as a "modification."When the laws governing your
     account require the Bank to notify you of a modification of this Agreement, the Bank may do
     so by posting notice of the modification in the Bank's home page (www.wellsfargo.com), by
     including a message on or with the statement for your account, or by any other means that
     the Bank considers appropriate, unless the laws governing your account require notice by a
     specific means. In addition, the Bank may agree in writing (or otherwise) to waive a provision
     of this Agreement, including, without limitation, a fee (a "waiver").The Bank may, upon prior
     written notice to you, revoke any waiver. Your continued use of your account or a related
     service including a balance inquiry or any other communication with the Bank about your
     account following the effective date of any modification of this Agreement, or revocation of
     any waiver, will show your consent to that modification, or revocation of waiver.
     Each of the rules, terms, and conditions set forth in this Agreement stand alone. Any term
     or condition contained in this Agreement which is inconsistent with the laws governing
     your account will be deemed to have been modified by the Bank and applied in a manner
     consistent with such laws. Any term of this Agreement which a court of competent
     jurisdiction determines to be unenforceable or invalid will not affect the enforceability or
     validity of the remaining provisions of this Agreement.

     Monitoring and recording communications
     The Bank may monitor, record and retain telephone conversations, electronic messages,
     electronic records, and other data transmissions between you and the Bank at any time
     without further notice to anyone, unless further notice is otherwise required by the laws
     governing your account, and will have no liability for doing or failing to do so.

     No fiduciary relationship
     The Bank's relationship with you concerning your account is that of debtor and creditor; no
     fiduciary, quasi-fiduciary, or special relationship exists between you and the Bank.

     Reordering checks
     You can reorder checks by Logging in at wellsfargo.com/checks or by calling 1-800-TO-WELLS
     (1-800-869-3557). If you or a third party prints your checks, the Bank shall have no liability to
     you if the Bank is unable to process such checks by automated means.

     Verification of transactions; right to reverse erroneous credits
     All transactions, including without limitation, those for which the Bank has provided a
     receipt, are subject to the Bank's final verification. Verification of a deposit does not occur at
     the teller window. Consequently, the receipt that you receive at the time of your deposit is
     not evidence that your deposit has been verified. The Bank may reverse or otherwise adjust
     any credit it believes it has erroneously made to your account at any time without prior
     notice to you.




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        Variable/Fixed-rate accounts

        An interest-earning account may be either a variable-rate or a fixed-rate account. Unless the
        Bank has specified otherwise in writing, your account will be a variable-rate account. That
        means the Bank may, in its sole discretion, change the interest rate on your account at any
        time. Excluding CDs, the Bank may change the interest rate on fixed-rate accounts provided
        it pays the new interest rate for at least 30 days.

        Method used to calculate earned interest

        The Bank may use either the average daily collected balance or daily collected balance
        method to calculate interest. Interest is calculated using a 365-day year.
        •   The average daily collected balance method applies a periodic rate to the average daily
            collected balance for the period. The average daily collected balance is calculated by
            adding collected balance for each day and dividing by the number of days in the period.
        •   The daily collected balance method applies a daily periodic rate to collected balance
            each day

        Unless the Bank has specified otherwise in writing, it will use the daily collected balance
        method to calculate interest. If your account is a tiered-rate account, the Bank may pay the
        same interest rate on more than one tier.

         Interest accrual

        If you deposit a non-cash item, such as a check, interest begins to accrue no later than the
        business daythe Bank receives credit for the deposit of that item. This may not be the same
        day that you deposit the noncash item to your account.

        Compounding and crediting

        Interest will compound on a daily basis. For checking and savings accounts, interest will be
        credited on a monthly basis. For CDs, the Bank will notify you separately as to the frequency
        with which interest will be credited to your account.

         Interest adjustments

        If you receive a statement for your account, an interest adjustment may be reflected on the
        statement for your account for the month after it occurs rather than the month in which
        it occurs.

        Annual Percentage Yield and Annual Percentage Yield Earned

        The Bank may periodically disclose the annual percentage yield that is applicable to your
        account.The Annual Percentage Yield (APY) is a percentage rate that reflects the total
        amount of interest paid on the account. It is based on the interest rate earned on the account
        and the frequency of compounding for a 365-day period. Your statement will include the
        Annual Percentage Yield Earned (APYE) on your savings accounts and interest-earning
        checking accounts for the period covered by the statement. The APYE is an annualized
        rate that reflects the relationship between the amount of interest actually earned on your
        account and the average daily collected balance (also described as "average collected
        balance") in the account. Both the APY and the APYE are calculated according to formulas
        established by federal regulations.The APY that is disclosed in connection with your account
        may not be the same as the APYE that appears on the statement for your account.




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     The Bank's right to require notice

     The Bank has the right to require seven days written notice before you withdraw money from
     any savings account.
                                                                                                          0

     Savings account transaction limits

     Regulation D limits certain types of withdrawals and transfers from savings or money market
     accounts to a total of six (6) per monthly statement period (exceptions to the statement
     period may apply).

     Limited:
         Transfers by phone using our automated banking service or speaking with a banker on
         the phone
         Transfer or payments through online, mobile, and text banking (including bill pay)
     •   Transfers to a checking account for overdraft protection coverage
     •   Pre-authorized transfers and withdrawals (including recurring and wire transfers)
         Payments to third parties such as checks, drafts, or similar other transactions (counted
         when they are posted to your account and not when they are written)
         Debit or ATM card purchases that post to the savings account                                    z(7
     Not limited:                                                                                        5,a)
                                                                                                         n
     There are no limits on transfers or withdrawals made in person at an ATM or Wells Fargo
     banking location or on any types of deposits.                                                       o'Ro
     An excess activity fee (see Fee Schedule) is assessed for transactions exceeding the limit
     stated above. If the limit is exceeded on more than an occasional basis, the Bank may be
     required to convert the savings account to a checking account, which would discontinue
     any overdraft protection it might be providing to another account, or close the account.
     If the withdrawal and transfer limit is reached, we may decline transfers and withdrawals
     for the remainder of the monthly statement period to help you avoid a fee and account
     conversion or closure.




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        General
        Time Accounts include deposits which are payable, either on a specified date or at the
        expiration of a specified time, no less than seven calendar days after the date of deposit.The
        Bank may refer to a Time Account as a "CD" or a "Certificate of Deposit," even though the Time
        Account is not represented by a certificate.

        Certificated CDs
        If you received a certificate evidencing your CD, the Bank may require you to present the
        certificate and any amendments to receive payment or transfer ownership.

        Maturity date
        Your CD will mature at the end of the term stated on your receipt, disclosure, or certificate,
        as applicable.

        Time requirements
        You agree to keep your funds on deposit until the maturity date. You may make
        withdrawals from your CD on the maturity date or within the grace period after that date.
        For Step Rate Time Accounts partial withdrawals are allowed before maturity during
        specified early withdrawal periods. The Bank will not agree in advance to allow other
        withdrawal before maturity.

        Payment of interest
        If you have elected a payment of interest other than a credit to your CD, the Bank may, in its
        discretion, terminate this interest payment method in favor of crediting your CD. Ordinarily,
        such discretion will be exercised when an interest payment mailed to your account address
        has been returned undelivered, when an account to which your interest payments were
        automatically credited has been closed, or if the interest payment amount is less than any
        minimum amount as determined by the Bank.

        Additional deposits
        You may not make additional deposits to your CD except during the grace period, unless the
        Bank otherwise agrees in writing.

        Withdrawal of interest prior to maturity
        The Annual Percentage Yield (APY) disclosed to you assumes that interest will remain on
        deposit until maturity. A withdrawal of interest prior to maturity will reduce earnings.

        Withdrawal of principal prior to maturity
        All or any part of the principal may be withdrawn before maturity without a fee due to
        the death of the accountholder or if the accountholder is declared mentally incompetent
        by a court of competent jurisdiction. Step Rate accounts allow partial withdrawals before
        maturity during specified early withdrawal periods.




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     Renewal policies
     If your CD is automatically renewable, at maturity it will renew:
     •   Typically for a like term unless you are informed prior to maturity of a different term           0
                                                                                                           o_
     •   At the Bank's interest rate in effect on the maturity date for a new CD of the same term
         and amount, unless the Bank has notified you otherwise
     •   Your Step Rate CD will renew into a standard (non-step) 24 month fixed rate Time
         Account (CD)

     You may withdraw your funds, up to the amount of the matured CD, anytime during the
     grace period without a fee. The Bank will not pay interest from the maturity date to the date
     of withdrawal on the funds withdrawn. If your CD is not automatically renewable and you do
     not withdraw the funds on the maturity date, the CD will cease to earn interest.




     Check safekeeping is automatically included on all Bank accounts that allow check writing.
     Image Statements are available on all checking accounts. With check safekeeping, the front
     and back of all checks paid against your account are copied on microfilm or by other means.
     The copies are retained for seven years (or longer as required by law) from the date each
     check is paid against your account. As soon as your original check is copied, it is destroyed.




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        This part describes the Bank's account-related electronic banking services, and provides
        the terms applicable to these services. In general, these services provide ways to transfer
        funds electronically to and from your account using an ATM card or debit card linked to the
        account and/or a Personal Identification Number (PIN).The Bank may limit the availability
        of these services at any time, and all of these services may not be available at each Bank
        location. The Bank may require you or the cardholder to sign a separate agreement to obtain
        these services. If there is a conflict between the separate agreement and this Agreement, the
        separate agreement will control. Additional terms and conditions, if any, applicable to these
        services are provided in the Schedule.
        The Bank may, in its sole discretion, limit the availability of electronic banking services as
        it considers appropriate. Additional disclosures, if any, applicable to these services may be
        included in the Schedule.

                       card and PIN
         Issuance of a card

        Subject to qualification, the Bank may issue a card and a Personal Identification Number
        (PIN) to each cardholder to access account(s) linked to your card (each, a "linked account")
        at automated teller machines (each, an"ATM") and, for Wells Fargo ATM Cards or Wells Fargo
        Debit Cards, where offered, at point-of-sale network merchants.

         Instant debit card

        The Instant Debit Card is a temporary card that permits you to access the funds in your
        designated account.The Bank may permit the card to be used to make point-of-sale
        purchases at participating retailers and service providers and/or to access funds in your
        account through an ATM.

                    card
         Use of the card

        The specific functions that can be performed depend on the type of card that the Bank
        agrees to issue. Wells Fargo Debit Cards may also be used to receive certain electronic credit
        transfers such as those through card networks or funds transfer systems. Some services may
        not be available at all locations.

         Illegal transactions
        Your card must not be used for any unlawful purpose under applicable law, including,
        but not limited to,"restricted transactions"as defined in the Unlawful Internet Gambling
        Enforcement Act of 2006 and Regulation GG issued thereunder. You agree to take steps to
        ensure each cardholder will not use his or her card or any linked account for any transaction
        that is illegal under the laws governing your account. In addition, the Bank reserves the
        right to deny transactions or authorizations from merchants apparently engaging in the
        Internet gambling business or identifying themselves through the card transactions record
        or otherwise as engaged in such business.

                       card and Personal Identification Number (PIN)
        Protecting the card
        Take care of the card and PIN as you would your checks and other important documents.
        Each cardholder must have his or her own unique PIN for the card, which may be embossed
        with his or her name. Each cardholder is responsible for maintaining the confidentiality of
        the PIN. Memorize the PIN. Never write the PIN on the card or share it with anyone, including
        Bank personnel. Never allow anyone else to use, borrow, or obtain the card or PIN. If the
        card and/or PIN are given to another person, the account owner will be responsible for all
        transactions made by that person or anyone else to whom that person gives the card and/or
        PIN. Notify the Bank immediately if the card is lost or stolen or is no longer secure.

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     Account linkages
    The Bank shall determine the number and type of accounts that can be linked to your card.
    You may link such additional accounts to your card as the Bank permits from time to time.
                                                                                                                0
    The permitted linkages may vary depending on the type of card. The Bank may link to your                    0_
    card any or all of the accounts on which you are an authorized signer, unless you request the
    Bank not to link specific accounts.

     Designation of primary transaction account
     If you link only one account of a single type (e.g., checking, savings accounts) to the card,
     that linked account is automatically designated as the"primary" account for purposes of
     electronic banking services.

     Designation of primary vs. other accounts
     If you link more than one account of a single type to the card, you may designate a primary
     account, secondary account, and other accounts. For example, if you link four checking
     accounts to your card, one account will be the primary account, another will be the secondary
     account and the remaining two accounts will be other accounts. If you do not designate
     one account as the primary account of a particular type of account, the first account of that
     type linked to your card is considered the primary account for that type of account. Certain
     transactions are debited from the linked account designated as primary.                                   S.
                                                                                                               ",(1)
     If a "primary"account linked to the card is closed or delinked for any reason, the Bank will
     designate a "secondary" account (if applicable) as the new"primary"account. If a "secondary"              o Ro
     account linked to the card is changed to a "primary"designation or closed or delinked for any
     reason, the Bank may designate any additional qualified account that is linked to the card as
     the new"secondary"account on the card.

     Linked credit card and line of credit accounts
     If the Bank permits you to link your credit card account or line of credit account (each a "credit
     account") to your card, you may use your card to obtain cash or transfer funds from a linked
     credit account, so long as the credit account is in good standing and has available funds. Cash
     advances or transfer of funds are treated as cash advances, and are subject to the provisions
     of the agreement between you and the Bank applicable to the linked credit account.




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         Daily limits
         If the card may be used to make withdrawals and/or transfers at an ATM or to make
         point-of-sale purchases, the following rules apply:
            While there is generally no limit on the number of times the card may be used each day
            so long as the applicable daily limits for linked accounts that are separately disclosed
            are not exceeded, we may limit the number of authorizations we allow during a period
            of time. We reserve the right to deny certain transactions for any reason, including
            default, suspected fraudulent or unlawful activity, internet gambling, or any indication
            of increased risk related to the transaction. For security reasons, we cannot explain the
            details of how the authorization system works. You agree that the Bank will not be liable
            for failing to give an authorization. If the authorization is denied, the Bank may notify the
            person who attempted the transaction that it has been refused.
            The ATM daily dollar limit is the maximum amount of cash that can be withdrawn from
            any combination of linked deposit accounts by an individual card
            The daily point-of-sale purchase limit is the maximum amount of purchases (including
            cash back, if any) that can be debited from the linked account used for point-of-sale access
            For purposes of the daily limits only, a"day" is defined as the 24-hour period from
            midnight to midnight, Pacific Time. If a transaction is initiated in another time zone, it
            will be processed when the Bank receives it. The Bank will send notification if the Bank
            decreases the daily limits.
            If your daily purchase point-of-sale limit is greater than$99,999, you may need to
            request that the merchant process multiple transactions to complete a purchase above
            this amount

         If the cardholder already has a card and does not know what the daily limits are, call the Bank
         at the telephone number listed in the Schedule or on the statement for your account. For
         any cards that allow linkage to credit accounts, cash advances, or transfers from linked credit
         accounts are subject to all terms in the agreement governing the credit card account or line
         of credit including daily limits and cash advance fees.

         Available funds
         Generally, a cardholder can withdraw funds up to the daily ATM or point-of-sale withdrawal
         limit, subject to the available balance in any combination of linked deposit accounts accessed
         for withdrawal. If the ATM or point-of-sale purchase would create an overdraft on the linked
         account, the Bank may, in its sole discretion, take any of the actions described in the section
         of this Agreement titled "Overdraft and Non-sufficient Funds/NSF"The availability of deposits
         for withdrawal is described in the funds availability policy.

         Point-of-sale purchases
         A cardholder may use the card to purchase goods and services from participating retailers
         and service providers that accept payment through networks in which the Bank participates.
         Your Personal Identification Number (PIN) may be required at point-of-sale terminals where
         PINs are accepted. You may also use your card with your PIN to get cash back when you make
         a purchase at merchant locations that allow that type of transaction and accept payment
         through networks in which the Bank participates. You must follow the instructions on the
         merchant terminal and enter your PIN to obtain cash back.




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     Stop payments may not be requested on point-of-sale transactions. If the Bank receives
     an electronic notice that a point-of-sale transaction has occurred, a hold may be placed
     on the account designated as the"primary"transaction account.The hold will be for the
     actual amount of the purchase or, depending on the merchant's practice, for the anticipated              0
                                                                                                              0
     amount of the purchase (which may be greater than the actual amount of the purchase).The                 C
     hold may remain in effect from the time the notice is received until the merchant draft or
     other item is presented. The amount of each point-of-sale transaction will be deducted from
     the available funds in that designated account.
     Some point-of-sale merchants may assess a fee for a purchase made at their location. A sign
     describing any fee should be posted by the merchant. This fee will be included in the total
     purchase amount shown on the Bank account statement linked to the card and reflected on
     the receipt issued at the time of the transaction.

     Visa Account Updater service

    The Bank subscribes to the Visa Account Updater service (VAU). Under this service, if you give
    a merchant your card number and authorized it to bill your card periodically for recurring
    payments, and your card number changes due to replacement of a damaged card, lost/stolen
    card, or an updated card number, your new card number will automatically be sent to such
    merchant that subscribes to the VAU service. Because not all merchants or billing entities              Z •("D'
    subscribe to the VAU service, you should always notify each individual merchant of your                 52,..
    new card number. Changes to your card number as a result of a lost/stolen card will not be              a,ro
    updated if there is reported fraud on the card number that is being replaced, and you must
                                                                                                            0 20
    contact merchants to notify them of your new card information.

     Authorization holds for card transactions

     For all card purchase transactions, please note that we are permitted to place a temporary
     hold against some or all of the funds in the account linked to your card if and when an
     authorization request is obtained. We refer to this temporary hold as an "authorization hold;'
     and it will be subtracted from your available balance. In the case of an authorization request
     at a restaurant, hotel, or similar merchant, this amount may differ from the actual transaction
     amount as the actual transaction amount may not yet be known to the merchant when they
     submit the authorization request. For those transactions, there may be no authorization
     hold, or the amount of the authorization hold may be different from the transaction amount.
     In some other cases we may not receive an authorization request from the merchant, and
     there will be no authorization hold. We are permitted to place an authorization hold on
     your account for up to three (3) business days (or for up to 30 business days for certain types
     of debit or ATM card transactions, including but not limited to, car rental transactions, cash
     transactions, and international transactions) from the time of the authorization or until
     the transaction is paid from your account. However, if the transaction is not submitted for
     payment, we will release the authorization hold, which will increase your available balance
     until the transaction is submitted for payment by the merchant and finally posted to your
     account. If this happens, we must honor the prior authorization and will pay the transaction
     from your account. We urge you to record and track all of your transactions closely to
     confirm that your available balance accurately reflects your spending of funds from the
     account linked to your card. See the terms and conditions accompanying your card for
     more information on these authorization holds and the manner in which you may obtain
     balance information.




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        Transactions outside the United States

        If a card is used to make an ATM withdrawal or a point-of-sale purchase outside the United
        States, the network that handles the transaction will convert the local currency amount of
        the transaction to U.S. dollars (or, in the case of a point-of-sale purchase only, the merchant
        that handles the transaction may convert the currency). If the network converts the currency,
        it will use either a rate selected by the network from the range of rates available in wholesale
        currency markets for the applicable central processing date, which rate may vary from the
        rate the network itself receives, or the government-mandated rate in effect for the applicable
        central processing date. If the merchant that handles the point-of-sale purchase converts
        the currency, the merchant will determine the currency conversion rate. For each purchase
        transaction completed outside the United States, the Bank may also charge an international
        purchase transaction fee, which is based on the amount provided to the Bank by the network
        in U.S. dollars (the"Network transaction amount").

        Non-Wells Fargo network ATMs

        A cardholder may use the card at non-Wells Fargo ATMs. These are designated ATMs,
        owned or operated by other financial institutions, at which the cardholder may conduct
        such non-Wells Fargo ATM transactions as withdraw cash from, deposits to, transfer
        available funds between, or check the balance on, the accounts designated as the primary
        linked checking and primary linked savings account(s).These ATM transactions may
        not be available at all network ATMs, and may differ from those available at Wells Fargo
        ATMs.Transactions will be limited to the account access, withdrawal limit(s), and currency
        denomination(s) provided or allowed by the participating network ATM. Some banks do
        not provide the option of account type. In this case, the cash withdrawal will be deducted
        from the primary account linked to the card. A fee may be assessed for each non-Wells Fargo
        network ATM transaction you perform. Outside parties (merchants, financial institutions,
        etc.) may assess additional transaction fees for transactions made at their ATMs.These fees
        may be included in the total amount of the transaction amount that is withdrawn from your
        account and shown on the statement for the account.

        Deposits at ATMs; deposit verification

        Items that the cardholder wants to deposit to linked accou nt(s) must be endorsed by all
        payees. Paper items drawn on credit accounts (also known as "su perchecks"), or made out to
        payees not on the account may not be accepted once the paper item has been examined.
        You may not deposit foreign currency or paper items with payment amounts stated in
        foreign currency. If the cardholder makes a deposit at the ATM and the amount keyed
        differs from the sum of the deposited items, a debit or credit adjustment will be made to the
        account. During the verification process, items that the Bank refuses to accept for deposit
        for any reason (e.g. non-negotiable, endorsement exceptions, or otherwise irregular) will be
        returned by first class mail to the address in the Bank's records for your account.The dollar
        amount of such items will be deducted from the total dollar amount keyed in for deposit.
        The availability of deposits for withdrawal is described in the funds availability policy.




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     Statements

     If your account is governed by Regulation E, the Bank will send you a monthly statement if
     there are electronic fund transfers in a particular month. Otherwise, the Bank will send you a
                                                                                                             0
     statement at least quarterly.                                                                           0_

     Statement of last 10 transactions

     The cardholder may use the card to obtain a printout of the 10 most recent monetary
     transactions (within the last 45 days) on any checking, savings, or remittance account linked
     to the card. The transactions and the account balance may include deposits still subject to
     verification or collection by the Bank, and the balances may differ from the cardholder's
     records because of deposits in progress, outstanding checks, or other withdrawals, payments
     or fees. Statement of Last 10 Transactions should not be used in lieu of the monthly
     statement for balancing/verifying the true account balance.

     Statement of balances of linked accounts

     The cardholder may use the card to obtain a printout of the balances of all accounts linked
     to the card. Any balance shown on the statement may include deposits still subject to
     verification by the Bank, and the balances may differ from the cardholder's records because
     of deposits in progress, outstanding checks, or other withdrawals, payments, or fees. If there
     is a "*" next to the"balance" for any deposit account (checking, savings, or remittance), there        S,n)
     may be a hold on some or all of the total balance shown.
                                                                                                            o Ro
     Certain items affect the account total balance:
        "Deposits/Credits in process" reflects a cumulative total of all credit transactions
        performed on your account using a card since the ATM cutoff of the most recent business
        day, including ATM deposits and ATM transfers into your account
        "Withdrawals/Debits in process" reflects a cumulative total of all debit transactions
        performed on your account using a card since the ATM cutoff of the most recent business                 rD
                                                                                                                n
        day, including ATM withdrawals, ATM transfers from the account, point-of-sale purchases,            >
        and cash withdrawals from your account                                                              01°
                                                                                                            c fto
        "Preauthorized deposits/Payments in process" reflects the net amount of any deposits or             rt
        payments (preauthorized by you) that the Bank has received but has not yet posted to
        your account
        "Funds on hold" may include any amounts not yet available for withdrawal. Periodically
        and during system maintenance, statement of balances of linked accounts may not be
        available. However, the cardholder may be offered the option of obtaining a statement of
        last 10 transactions (which does not include a running balance) during these times.

     Receipts at ATMs

     The cardholder will have the option to print a receipt each time an ATM is used to make
     an electronic transfer.The receipt is evidence of the transaction as recorded by the ATM.
     All transactions are subject to posting, final payment, or verification, as applicable. The
     cardholder can use the receipt to reconcile the statement for their account.




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        Access to linked credit card and line of credit accounts using ATMs
        If the Bank links the cardholder's Wells Fargo credit card account or line of credit account to
        the card at the cardholder's request, the cardholder may use the card to access the linked
        credit card account or line of credit account at any Wells Fargo ATM, as long as all of the
        necessary account information is provided. The cardholder can use the card to obtain cash or
        transfer funds from the linked credit card or line of credit account, as long as the linked credit
        card or line of credit account is in good standing and has available credit. Cash advances and
        transfer of funds from your credit card account or line of credit account are treated as cash
        advances. Each transaction with the card involving any linked credit card account or line of
        credit account is subject to, respectively, the provisions of the applicable credit card account
        agreement or line of credit account agreement.
        You must notify the Bank in case of errors or questions about your Wells Fargo credit card bill.
        If you think your bill is wrong, or if you need more information about a transaction on your
        bill, write to the Bank, on a separate sheet of paper, at: Wells Fargo Card Services, P.O. Box
        522, Des Moines, IA, 50302-9907. You also may call the Bank at the telephone number listed
        on the statement for your account. However, you must write to the Bank to preserve your
        billing rights. Please consult your Wells Fargo Visa° or MasterCard® customer agreement and
        disclosure statement for complete information on the terms and conditions applicable to
        your credit card account, including the rules relating to cash advances from, and payments
        to, your credit card accounts.

        U.S. Postage stamp purchases
        If a card is used to purchase sheets of U.S. postage stamps at designated Wells Fargo ATMs,
        the purchase price will be debited from the linked account selected and appear on the
        statement for that account. Stamp purchases are subject to the card's daily dollar limit for
        cash withdrawals at the ATMs.

        ATM and point-of-sale malfunctions
        The cardholder will not hold the Bank responsible for damages that result from or are a
        consequence of an ATM or point-of-sale malfu nction.The cardholder will promptly notify the
        Bank if an ATM fails to dispense the correct amount of cash or provide a proper receipt by
        calling or writing the Bank at the telephone number or address provided in the Schedule.

        When a transaction is posted
        The time required to debit or credit your account after the card is used will depend on the
        location of the ATM or point-of-sale and the type of transaction.

        Termination of card privileges
        The card is the property of the Bank. The Bank may terminate the cardholder's card privileges
        at any time without notice to you or the cardholder. You or the cardholder may terminate
        card privileges at any time by writing the Bank at the address provided in your statement.
        You will immediately notify the Bank in writing of the termination of the cardholder's
        authority to use a card. If the cardholder's authority is terminated, the account is closed
        or the card is cancelled, you will immediately retrieve and destroy the card(s) and upon
        request provide written confirmation that the card(s) has been destroyed. If card privileges
        are terminated, the cardholder(s) must immediately surrender the card(s) to the Bank.
        Termination of card privileges will not affect any rights and obligations for transactions made
        with a card before the privileges were terminated.



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     Changes in terms affecting electronic transactions
     From time to time, the Bank may change the terms and conditions applicable to electronic
     transactions. The Bank will send you written notice as required by the laws governing your
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     accou nt.                                                                                                0_
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     Termination of electronic fund transfer privileges
     All of your electronic transfer privileges end if your account is closed. Either you or the Bank
     may terminate specific electronic transfer services without closing your accou nt. You may
     terminate a service by calling or writing the Bank at the number or address listed on the
     statement for your account or provided in the Schedule. The Bank may terminate specific
     electronic fund transfers anytime without prior notice to you.

     Rules of funds transfer systems
     Funds transfers to or from your account will be governed by the rules of any funds transfer
     system through which the transfers are made, as amended from time to time, including,
     without limitation, Fedwire, the National Automated Clearing House Association, any
     regional association (each a n "ACH"), and Clearing House Interbank Payments System
     (CHIPS).The following terms and conditions are in addition to, and not in place of, any other
     agreements you have with the Bank regarding electronic transactions.
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     Notice of receipt of funds
     Unless the Bank has otherwise agreed in writing, we will notify you of funds electronically             o Ro
     debited or credited to your account through the statement for your account covering the
     period in which the transaction occurred.The Bank is under no obligation to provide you
     with any additional notice or receipt.

     Reliance on identification numbers
     If a transfer instruction describes the person to receive payment inconsistently by name and
     account number, payment may be made on the basis of the account number even if the
     account number identifies a person different from the named person. If a transfer instruction
     describes a participating financial institution inconsistently by name and identification
     number the identification number may be relied upon as the proper identification of the
     financial institution.

     Duty to report unauthorized and erroneous fund transfers
     You will exercise ordinary care to determine whether a fund transfer to or from your
     account was either erroneous or not authorized and will notify the Bank of the facts within
     a reasonable time not exceeding 14 days after the Bank sends you the statement for
     your account on which the transfer appears or you otherwise have notice of the transfer,
     whichever is earlier. You will be precluded from asserting that the Bank is not entitled to
     retain payment unless you object to payment within the 14 day period.

     Erroneous payment orders
     The Bank has no obligation to detect errors in payment orders (for example, an erroneous
     instruction to pay a beneficiary not intended by you or to pay an amount greater than
     the amount intended by you, or an erroneous transmission of a duplicate payment order
     previously sent by you). Should the Bank detect an error on one or more occasions, it shall
     not be construed as obligating the Bank to detect errors in any future payment order.



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        Automated Clearing House (ACH) transactions
        The following terms apply to payments to or from your account that are transmitted through
        an ACH.
            Your rights as to payments to or from your account will be based upon the laws
            governing your account
            Credit given by a receiving bank to its customer for a payment from your account is
            provisional until final settlement has been made or until payment is considered received
            under the laws governing your account
            If a payment is made to your account and the Bank does not receive final settlement
            or payment is not received under the laws governing your account, you will not be
            considered to have received payment and the Bank will be entitled to reimbursement
            from you for that payment
            You hereby authorize any Originating Depository Financial Institution (ODFI) to initiate,
            pursuant to ACH Operating Rules, ACH debit entries to your account for electronic
            presentment or re-presentment of items written or authorized by you




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     Electronic payments

     Accounts that may be used
     Electronic payment services are available to you from your checking or savings account.                0

     Your authorization
     No one can charge your account unless you authorize them to do so. If you authorize a
     person to periodically debit your account, in most cases, that person must give you a copy of
     your written authorization to keep.

     Limitations
    There are no limitations on the amount or frequency of debits that you may make from
    your checking account. If, however, you make payments from your savings account, any
    limitation on withdrawals applicable to savings accounts will apply. See the section entitled
    "Limitations on transfers from your savings account" in the"Interest-earning accounts"
    section within this Agreement.

     Notice of change in amount
     If you authorize a person to regularly debit your account and the amount varies from the
     previous amount debited, the person debiting your account is required to tell you, at least 10        z(rit
                                                                                                           R. 3
     days before each debit, when the debit will be made and how much it will be.                          ",(1)
     You have the same right to stop payment as described in the"electronic payments" section
     within this Agreement.                                                                                o Ro

     Liability for failure to make certain preauthorized transfers

     If we do not complete a transfer on time or in the correct amount according to our
     agreement with you, we will be liable for your losses or damages, unless any of the following
     conditions exist:
     •   You do not have enough funds in your account or linked account for overdraft protection
         to make the transfer;
     •   If the automated teller machine where you are making the transfer does not have enough
         cash or is not working properly;
     •   If circumstances beyond our control (such as earthquake, fire, flood, or system failure)
         prevent the transfer despite reasonable precautions that we have taken; or
     •   There are other exceptions stated in our agreement with you.

     Stop payment of preauthorized electronic fund transfers
     You may place a stop payment order of preauthorized electronic fund transfers by calling
     Wells Fargo Phone Bank at the number listed on the statement for your account at least three
     business days prior to the scheduled transfer date.The Bank requires your name and the
     account number associated with the such transfer, and the exact:
     •   Name of the payee
     •   The exact payment amount
     •   Scheduled transfer date
     Failure to provide correct and complete information may prevent us from acting on the stop
     payment order of the preauthorized electronic fund transfer. You agree to indemnify and
     hold the Bank and its affiliates, officers, directors, employees, consultants, shareholders,




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        and agents harmless from and against any loss incurred by the Bank as a result of the Bank's
        paying an electronic fund transfer if any of the information relied upon in the stop payment
        order is incorrect or incomplete (or as a result of the Bank's not paying a preauthorized
        electronic fund transfer for which a valid stop payment order is in effect.) If the Bank pays a
        preauthorized electronic fund transfer over a valid stop payment order, the Bank may require
        you to provide it with an affidavit describing in detail the dispute. If you order us to stop a
        preauthorized transfer three business days or more before the transfer is scheduled, and we
        do not do so, we will be liable for your losses or damages.

        Reversal
        You have the right to reverse any unauthorized payment that was debited from your
        account through an automated clearinghouse (ACH). If you give the Bank written notice that
        you want to reverse a payment, the Bank will recredit your account for the amount of the
        payment. You must notify the Bank within 15 days after we send you the statement for your
        account that reflects the payment you wish to reverse. This right of reversal is in addition to
        your right to stop payment.

        Electronic check conversion

        You may authorize a merchant or other payee to make a one-time electronic payment from
        your checking account using information from your check to:
        •   Pay for purchases
        •   Pay bills

        Preauthorized credits

        Your authorization
        You must specifically authorize the transferor to transfer funds electronically to your account.
        If you ask, the transferor may provide you a copy of your authorization.

        Limitations
        There are no limitations on the number of credits or the amounts that may be credited to
        your account.

        Deposit inquiry
        You have the right to find out whether an electronic transfer was credited to your account.
        Please contact Wells Fargo Phone Bank at the number listed on your statement for your
        account.

        When transactions are posted
        The credit the Bank provides for an electronic payment is provisional until the Bank receives
        final settlement or payment. If the Bank does not receive final settlement or payment,
        the Bank is entitled to a refund of the credit. The Bank is legally required to post any
        preauthorized credit to your account as of the day it is received. If you authorize a credit
        to an interest-earning savings account, the Bank will pay interest on that credit from the
        settlement date for that transaction.




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     Preauthorized transfers

     General
     If you authorize the Bank to make preauthorized transfers, the Bank may periodically transfer          0
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     amounts you specify from your checking or savings account to another account or send
     them to you by check. This service is only available if you have a Wells Fargo checking or a
     savings account.

     Your authorization
     To use this service, you must provide the Bank with authorization.

     Limitations
    The Bank provides you with separate notice of any limit on the amount you may transfer at
    any single time or on any given day, or of any limit on the number of transfers you can make
    from your checking account. Limits on the number of transfers you can make from your
    savings account are described in "Limitations on transfers from your savings account" in the
    "Interest-earning accounts" section within this Agreement.

     Stop payments
     You have the same right to stop payment as described in the"electronic payments" section
     within this Agreement.                                                                                S.
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     Online banking                                                                                        o Ro
     To use the online banking service, you must be at least 13 years old and enter into a separate
     agreement with the Bank. Your rights and obligations regarding online banking are more
     fully explained in that separate agreement.




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         In case of errors or questions about your electronic transfers
         In case of errors or questions about your electronic transfers, call Wells Fargo Phone Bank
         at 1-800-869-3557 or the number listed on the statement for your account, or write us at:
         Wells Fargo, Customer Correspondence, P.O. Box 6995, Portland, OR 97228- 6995 as soon
         as you can, if you think your statement or receipt is wrong or if you need more information
         about a transfer listed on the statement or receipt.The Bank must hear from you no later
         than 60 days after we send the FIRST statement on which the problem or error appeared.
         •   Tell the Bank your name and account number (if any)
         •   Describe the error or the transfer you are unsure about, and explain as clearly as you can
             why you believe it is an error or why you need more information
         •   Tell the Bank the dollar amount of the suspected error

         Lost or stolen card or PIN; reporting unauthorized electronic transfers
         If you believe your card, your card number, or your PIN has been lost or stolen, call
         Wells Fargo Phone Bank at 1-800-869-3557 or the number listed on your account statement
         or write: Wells Fargo, Customer Correspondence, P.O. Box 6995, Portland, OR 97228- 6995.
         You should also call the number or write to the address listed above if you believe a transfer
         has been made using the information from your check without your permission.

         Liability for transactions covered by Regulation E
         Tell us AT ONCE if you believe your card, your card number, or your PIN has been lost or
         stolen, or if you believe that an electronic fund transfer has been made without your
         permission using information from your check. Telephoning is the best way of keeping your
         possible losses down. You could lose all the money in your account (plus funds in a line of
         credit or savings account linked to your card or as part of an overdraft protection plan). If
         you tell us within two business days after you learn of the loss or theft of your card, your card
         number or your PIN, you can lose no more than $50 if someone used your card, your card
         number or your PIN without your permission, subject to Zero Liability protection.
         If you do NOT tell us within two business days after you learn of the loss or theft of your card,
         your card number, or your PIN, and the Bank can prove it could have stopped someone from
         using your card, your card number or your PIN without your permission if you had told us,
         you could lose as much as $500, subject to Zero Liability protection. Also, if your statement
         shows transfers that you did not make, including those made by card, PIN or other means,
         tell us at once. If you do not tell us within 60 days after the statement was mailed to you, you
         may not get back any money you lost after the 60 days if the Bank can prove that it could have
         stopped someone from taking the money if you had told us in time. If a good reason (such as
         a long trip or a hospital stay) kept you from telling us, the Bank will extend the time periods.




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     Investigation of claims covered by Regulation E
     If you tell the Bank of a claim, the Bank may require that you send your complaint or question
     in writing within 10 business days. The Bank will determine whether an error occurred within
                                                                                                               0
     10 business days after the Bank hears from you and will correct any error promptly. If the
     Bank needs more time, however, it may take up to 45 days to investigate your complaint or
     question. If the Bank decides to do this, it will credit your account within 10 business days for
     the amount you think is in error, so that you will have the use of the money during the time
     it takes the Bank to complete its investigation. If the Bank asks you to put your complaint or
     question in writing and it does not receive it within 10 business days, the Bank may not credit
     your account.
     For errors involving new accounts, point-of-sale, or foreign-initiated transactions, the Bank
     may take up to 90 days to investigate your complaint or question. For new accounts, the
     Bank may take up to 20 business days to credit your account for the amount you think
     is in error. The Bank will tell you the results within three business days after completing
     its investigation. If the Bank decides that there was no error, it will send you a written
     explanation. You may ask for copies of the documents that the Bank used in its investigation.

     Point-of-sale and other transactions not covered by Regulation E
     For point-of-sale and other transactions not governed by Regulation E, you are liable for                z(rit
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     all losses relating to unauthorized EFTS that do not result solely from the negligence or                S,n)
     intentional misconduct of the Bank, unless the laws governing your account require lesser
     liability. If the laws governing your account require additional disclosures related to your               Ro
     electronic transactions, the Bank provides them to you in the Schedule.

     Investigations of claims not covered by Regulation E
     If you orally notify the Bank of your claim, the Bank may ask you to send your claim in writing
     within 10 business days. If the claim is not governed by Regulation E, then the following
     provisions apply:
        The Bank shall attempt to complete its investigation within 10 business days (20 business
        days if the alleged error occurred during the first 30 days your account is open) of your
        notifying the Bank. The Bank will report the results to you within three business days
        after completing its investigation and correct any error promptly. If the Bank needs more
        time, the Bank may take up to 90 days to investigate your claim, as long as the Bank
        provisionally recredits your account within five business days for the amount you think is
        in error. You will have the use of the money while the Bank completes its investigation.
        If the Bank receives your written notice within five business days, the Bank shall
        provisionally recredit your account at the end of the five-day period.
        If the Bank receives your written notice after the end of the five-day period, but within
        10 business days (20 business days if the alleged error occurred during the first 30 days
        your account is open), the Bank will recredit your account at the end of the 10 day period
        (20-day period, as appropriate). If the Bank does not receive your written notice within
        10 business days (or 20 business days, as appropriate), the Bank does not need to recredit
        your account while it completes its investigation.
        If the Bank decides that there was no error, the Bank will send you a written explanation
        within three business days after it completes its investigation. You may ask for copies of
        any documents the Bank used in its investigation.




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        Zero Liability protection
        Zero Liability protects you from unauthorized EFTS or charges to your account subject to the
        conditions described below.
        Each card may be embossed with the name of the cardholder to whom it is issued. You are
        responsible for cards issued to cardholders. You will not be liable for unauthorized EFTS except
        as explained below. Under Zero Liability protection, unauthorized EFTS do not include (that is,
        you are liable for):
        •   Any transaction by a co-owner, a cardholder or person authorized by a cardholder, or
            other person with an interest in or authority to transact business on the account
        •   Any transaction by a cardholder that exceeded the authority given by the account holder
        •   Any transaction a merchant has processed in error, or a transaction in which the
            cardholder is unhappy with goods or services received. In these cases, the cardholder
            should first contact the merchant to obtain resolution.
        If a cardholder suspects that his or her card has been lost or stolen, or that an unauthorized
        EFT has been made with the card or the card number issued to him or her, notify the Bank as
        soon as possible by calling Wells Fargo Phone Bank at 1-800-869-3557 or the number listed
        on the statement for your account. You may also write to the Bank at:Wells Fargo, Customer
        Correspondence, P.O. Box 6995, Portland, OR 97228-6995. The sooner the Bank is notified, the
        sooner the Bank can protect the linked accounts. A delay in reporting the unauthorized EFT
        may affect your liability protection, as defined below.

        Notices given within 60 days of delivery of first statement
        You have Zero Liability protection for an unauthorized EFT made with a card or card number
        as defined above if the Bank is notified of the unauthorized EFT within 60 days of when the
        first statement showing the unauthorized EFT was delivered.

        Notices given more than 60 days after delivery of first statement
        If the Bank is not notified within 60 days of when the first statement showing the
        unauthorized EFT was delivered, you will have the burden of proving that the transaction
        was unauthorized. You may be required to provide documentation in support of your claim,
        including an affidavit of unauthorized use and a police report. Additionally, in evaluating
        your claim, the Bank will consider whether any negligence on the part of the cardholders has
        contributed to the transaction in question. Some of the factors that the Bank will consider in
        connection with this evaluation include:
        •   Timely reporting of lost card. Whether any loss or theft of the card was reported to the
            Bank within 48 hours of discovery of the loss or theft.
        •   Prompt review of statements. Whether you promptly reviewed any statement for your
            account that was provided to you.
        •   Prompt report of unauthorized EFT. Whether, following discovery of an unauthorized
            use of the card on a statement for your account, the unauthorized EFT was reported to the
            Bank within 48 hours of the discovery.
        •   Safeguard card and PIN. Whether the cardholder exercised reasonable care in
            safeguarding his or her card, card number, and Personal Identification Number (PIN) from
            loss or theft.
        •   Multiple prior incidents. Whether you have reported multiple incidents of unauthorized
            EFTS to the Bank within the 12-month period immediately preceding your claim and the
            facts and circumstances surrounding those incidents.


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     General

     This section describes the special rules applicable to the services available through
     Wells Fargo Phone Bank. Wells Fargo Phone Bank may be accessed by telephoning the Bank
                                                                                                             0
     at the number provided on the statement for your account and either using the automated                 0_
     telephone banking service and/or speaking with a phone banker.

     Security procedure

     The Bank will use a security procedure to authenticate the caller seeking to access services
     using Wells Fargo Phone Bank. If a Personal Identification Number (PIN) has been assigned
     (for ATM card, debit card, or PIN-only use), the Bank may use the PIN as the security
     procedure to permit access to the automated telephone banking service. If a PIN has not
     been assigned, or if Wells Fargo Phone Bank is not accessed through the automated phone
     system, other information the Bank has on file about you, your Authorized Signeror your
     account will be used as the security procedure to permit access to Wells Fargo Phone Bank.

     PIN security

     You may change your PIN at anytime by using the Customer Selected PIN service at a
     Banking Location or by requesting the mailing of a new randomly selected PIN when calling
     Wells Fargo Phone Bank. The Bank may cancel your Customer Selected PIN at any time
     without notice. To ensure your PIN is not cancelled due to inactivity, it must be used at least        S,n)
     once during the preceding six-month period.
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     Liability waiver

     When the Bank authenticates a caller through use of a PIN and/or any other information,
     the Bank may, in its sole discretion, trust that the caller has authorized any transactions
     performed, without limitation, to transfer of funds between or among your linked accounts.

     Information and transfers

     You may obtain information about your account by telephone. If you maintain more than
     one account, you may transfer funds between those accounts by telephone.

     Limitations

     The limitations on the number of transfers you can make from your savings accounts are
     described in the section of this Agreement entitled "Limitations on transfers from your
     savings account" in the"Interest-earning accounts" section.

     When transactions are posted

     Telephone transfers accepted by the Bank prior to the Bank's cutoff hour on a business day
     are posted on that day, if possible. Telephone transfers which cannot be posted the same day
     or which are received after the cutoff hour, on a holiday observed by the Bank, or over the
     weekend, are posted on the next business day.

     Telephone transactions not covered by EFTA/Regulation E

     The Electronic Fund Transfer Act (EFTA) and Regulation Edo not apply to electronic fund
     transfers initiated by telephone unless under a written plan in which periodic or recurring
     transfers are intended.




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                                        Service
        Wells Fargo Mobile Text Banking Service
        These terms of use set forth the terms and conditions for use of the Wells Fargo Mobile
        Text Banking Service ("Text Banking Service"). You agree to all the terms, conditions, and
        notices contained or referenced in these terms of use, and to any subsequent changes and
        amendments which may be updated and posted to the Bank's website from time to time.
        Upon registering for the Wells Fargo Mobile Text Banking Service, YOU ARE PROVIDING
        YOUR PRIOR EXPRESS CONSENT permitting the Bank (and any party acting on behalf of
        Wells Fargo) to contact you at the telephone number you are registering. We may contact
        you for emergency, fraud prevention, or servicing purposes. You agree that Wells Fargo
        may use automatic telephone dialing systems in connection with text messages sent to
        any telephone number you register, even if the telephone number is assigned to a cellular
        telephone service or other service for which the called party is charged. You may only
        register telephone numbers that belong to you.




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